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                    UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable YVONNE GONZALEZ ROGERS, Judge

EPIC GAMES, INC.,           )
                            )
       Plaintiff,           )          NO. C-20-5640 YGR
                            )
  vs.                       )          Tuesday, May 11, 2021
                            )
APPLE, INC.,                )          Oakland, California
                            )
       Defendant.           )          BENCH TRIAL
____________________________)
APPLE, INC.,                )
                            )
       Counterclaimant,     )
  vs.                       )
                            )
EPIC GAMES, Inc.,           )
                            )
       Counter-Defendant.   )
____________________________)


               REPORTER'S TRANSCRIPT OF PROCEEDINGS

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                      (Appearances continued.)

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                         Pamela Hebel, CSR, RMR, FCRR
      TRANSCRIPT PRODUCED BY COMPUTER-AIDED TRANSCRIPTION
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21

22

23

24

25
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23

24

25
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       1    TUESDAY, MAY 11, 2021                                                 7:59 a.m.

       2                                   P R O C E E D I N G S

       3                  7+(&/(5. &DOOLQJ&9(SLF*DPHV,QFYV

7:59:22AM
        4   $SSOH,QF

7:59:30AM
        5        &RXQVHOSOHDVHVWDWH\RXUDSSHDUDQFHV

7:59:33AM
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7:59:36AM
        7   )RUUHVWIRU(SLF

7:59:39AM
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7:59:42AM
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       25   DSSHDULQJKHUHULJKW"
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12:33:15PM
         1        Who will be the next witness up, Ms. Forrest?

12:33:21PM
         2              MS. FORREST:     Your Honor, our next witness will be

12:33:23PM
         3   Dr. Susan Athey.

12:33:27PM
         4              THE COURT:    Okay.   We will do Dr. Athey after our

12:33:30PM
         5   second break, so we'll stand in recess until 1:15.            Thank you.

 1:15:01PM
         6

 1:15:01PM
         7          (Recess taken at 12:33 p.m.; resumed at 1:15 p.m.)

 1:15:35PM
         8              THE COURT:    Okay.   We are back on the record.       The

 1:15:39PM
         9   record will reflect the parties are present.

 1:15:40PM
        10        Counsel, your next witness.

 1:15:43PM
        11              MR. EVEN:    Thank you, Your Honor.      Yonatan Even for

 1:15:46PM
        12   Epic Games.     Epic Games at this time calls Professor Susan

 1:15:49PM
        13   Athey to the stand.

 1:15:54PM
        14              THE COURT:    All right.

 1:15:54PM
        15              MR. EVEN:    Thank you very much.

 1:16:07PM
        16              THE CLERK:    I will have you stand up and I'll swear

 1:16:09PM
        17   you in.

 1:16:13PM
        18        (SUSAN ATHEY, called as a witness for the Plaintiff,

 1:16:13PM
        19   having been duly sworn, testified as follows:)

 1:16:21PM
        20              THE WITNESS:     I do.

 1:16:22PM
        21              THE CLERK:    All right.    Please be seated.

 1:16:23PM
        22        And then if you will get your mask on.         If you will adjust

 1:16:30PM
        23   the mic so that it's -- yeah, kind of goes underneath your

 1:16:35PM
        24   shield there.

 1:16:36PM
        25        All right.    And then please state your full name and spell
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 6 of 127 1749
                                   ATHEY - DIRECT / EVEN

1:16:39PM
        1   your last name.     And let me turn on your microphone.

1:16:45PM
        2              THE WITNESS:     Susan Carleton Athey.      It's A-T-H-E-Y.

1:16:54PM
        3              THE COURT:    Good afternoon.

1:16:55PM
        4              THE WITNESS:     Good afternoon.

1:16:55PM
        5              THE COURT:    You may proceed.

1:16:58PM
        6              MR. EVEN:    Thank you, Your Honor.

1:16:59PM
        7                             DIRECT EXAMINATION

1:16:59PM
        8   BY MR. EVEN:

1:17:00PM
        9   Q.   Good afternoon, Professor Athey.

1:17:01PM
       10        Before we get into your direct examination, you provided a

1:17:07PM
       11   written -- a written portion of your testimony in this case?

1:17:12PM
       12   A.   I have.

1:17:13PM
       13              MR. EVEN:    Your Honor, may I approach?

1:17:15PM
       14              THE COURT:    You may.

1:17:15PM
       15              MR. EVEN:    Thank you, Your Honor.

1:17:15PM
       16   BY MR. EVEN:

1:17:28PM
       17   Q.   Professor Athey, if you turn to the first tab in the

1:17:32PM
       18   binder I just handed you.       And behind it is -- if you can

1:17:36PM
       19   confirm -- is what seems like a true and correct copy of your

1:17:39PM
       20   written direct testimony?

1:17:41PM
       21   A.   It is.

1:17:43PM
       22              MR. EVEN:    Your Honor, at this time, we ask to move

1:17:46PM
       23   Professor Athey's direct testimony into evidence.

1:17:49PM
       24              THE COURT:    All right.    The -- any objections or

1:17:51PM
       25   anything -- everything has been resolved; is that correct?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 7 of 127 1750
                                   ATHEY - DIRECT / EVEN

1:17:55PM
        1               MR. EVEN:    I believe so, Your Honor.

1:17:57PM
        2               MS. DUNN:    Your Honor, same objection as --

1:18:01PM
        3               THE CLERK:    Let me turn on the mic.

1:18:04PM
        4               MS. DUNN:    Your Honor, same objection as yesterday

1:18:06PM
        5   with Dr. Evans, just to whether there will ultimately be a

1:18:12PM
        6   factual basis for the opinions.        Otherwise, all other issues

1:18:15PM
        7   have been resolved.

1:18:17PM
        8               THE COURT:    Okay.   Well, then, as with the others,

1:18:21PM
        9   I'll admit it once we have all these issues resolved.

1:18:25PM
       10   Otherwise, it does not get admitted yet.

1:18:27PM
       11        Proceed.

1:18:31PM
       12               MR. EVEN:    Thank you, Your Honor.

1:18:31PM
       13   BY MR. EVEN:

1:18:33PM
       14   Q.   Professor Athey, what is your occupation?

1:18:35PM
       15   A.   I'm the economics of technology professor at the Stanford

1:18:38PM
       16   Graduate School of Business.

1:18:40PM
       17   Q.   Thank you.

1:18:41PM
       18        And have you prepared a demonstrative slide that

1:18:44PM
       19   summarizes your background?

1:18:45PM
       20   A.   I have.

1:18:47PM
       21               MR. EVEN:    If I can bring up that slide.       Thank you.

1:18:49PM
       22   BY MR. EVEN:

1:18:52PM
       23   Q.   Can you please describe your educational background.

1:18:55PM
       24   A.   Yes.   I have a bachelor's degree in economics, computer

1:18:59PM
       25   science, and mathematics from Duke University and a Ph.D. in
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 8 of 127 1751
                                   ATHEY - DIRECT / EVEN

1:19:04PM
        1   economics from Stanford.

1:19:06PM
        2   Q.   And when did you receive your Ph.D. from Stanford?

1:19:09PM
        3   A.   In 1995.

1:19:12PM
        4   Q.   How long have you been a professor?

1:19:14PM
        5   A.   I've been a professor since then at Harvard, MIT, and

1:19:20PM
        6   Stanford.

1:19:21PM
        7   Q.   And how long have you now been at Stanford?

1:19:24PM
        8   A.   Most recently, since 2013.

1:19:28PM
        9   Q.   Have you won any awards, Professor Athey?

1:19:31PM
       10   A.   I have.

1:19:32PM
       11   Q.   Which awards have you won?

1:19:35PM
       12   A.   I'm an elected member of the National Academy of Science,

1:19:38PM
       13   and I've received the John Bates Clark Medal from the American

1:19:41PM
       14   Economic Association.

1:19:44PM
       15   Q.   And what is the John Bates award?

1:19:47PM
       16   A.   It's for the economist -- American economist under the age

1:19:50PM
       17   of 40 who has made the most significant contribution to

1:19:53PM
       18   thought and knowledge.

1:19:56PM
       19   Q.   Do you have a particular area of focus for your research

1:20:02PM
       20   as a professor?

1:20:03PM
       21   A.   Yes.   Generally, industrial economics, the economics of

1:20:06PM
       22   digitization, the economics of platforms and marketplace

1:20:11PM
       23   design, and the intersection of machine learning and

1:20:15PM
       24   econometrics.

1:20:18PM
       25   Q.   Have you taught any courses related to the economics of
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 9 of 127 1752
                                   ATHEY - DIRECT / EVEN

1:20:21PM
        1   platforms?

1:20:22PM
        2   A.   Yes.    I've taught a variety of courses to master students

1:20:26PM
        3   and Ph.Ds and MBAs, including the economics of digitization,

1:20:34PM
        4   topics in digital business, marketplaces for goods and

1:20:39PM
        5   services, the economics of digital platform markets.

1:20:44PM
        6        And, broadly, these classes study the forces that --

1:20:49PM
        7   sources of profits for firms, the tactics that incumbents use,

1:20:56PM
        8   and strategies that entrants might use to come into these

1:21:00PM
        9   markets.

1:21:01PM
       10   Q.   Thank you.

1:21:03PM
       11        Do you do any work outside of academia?

1:21:06PM
       12   A.   I do.

1:21:07PM
       13   Q.   And can you please summarize for the Court your

1:21:10PM
       14   nonacademic work experience.

1:21:14PM
       15   A.   Yes.    I was consulting chief economist for Microsoft for

1:21:18PM
       16   several years.

1:21:19PM
       17        After that, I've served on boards of directors for a

1:21:22PM
       18   variety of companies, including Expedia, which is a platform

1:21:28PM
       19   for travel services; Rover, which is a platform for

1:21:33PM
       20   pet-related services, such as dog sitting; Turo, which is a

1:21:38PM
       21   platform for peer-to-peer car sharing; and some others.

1:21:43PM
       22        I also advise a couple of venture capital firms on their

1:21:48PM
       23   investments in technology-related businesses.

1:21:53PM
       24   Q.   Thank you.

1:21:53PM
       25        I see on the slide at the very bottom, it says "California
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 10 of 1271753
                                    ATHEY - DIRECT / EVEN

1:21:57PM
        1    Governor's Council of Economic Advisors.

1:22:01PM
        2         What is that?

1:22:02PM
        3    A.   That's a committee of academic economists who advise the

1:22:06PM
        4    governor of California on policy issues.

1:22:10PM
        5    Q.   Have you ever been retained as an economist by any

1:22:13PM
        6    government agencies?

1:22:14PM
        7    A.   Yes, I have, by the Department of Justice and the Federal

1:22:17PM
        8    Trade Commission.

1:22:20PM
        9    Q.   And have you ever presented to antitrust regulators in the

1:22:24PM
       10    U.S. or outside of the U.S.?

1:22:26PM
       11    A.   Yes, in many jurisdictions, including the United States,

1:22:29PM
       12    Europe, Canada, and others.

1:22:33PM
       13    Q.   Thank you.

1:22:34PM
       14              MR. EVEN:    Your Honor, at this time, Epic Games

1:22:37PM
       15    tenders Professor Susan Athey as an expert in industrial

1:22:37PM
       16    organization, platform economics, and the economics of

1:22:43PM
       17    technology.

1:22:45PM
       18              THE COURT:     Any objection?

1:22:45PM
       19              MS. DUNN:    No objection.

1:22:46PM
       20              THE COURT:     She's admitted as such.

1:22:48PM
       21              MR. EVEN:    Thank you, Your Honor.

1:22:49PM
       22    BY MR. EVEN:

1:22:51PM
       23    Q.   Professor Athey, what have you been asked to do in this

1:22:54PM
       24    case?

1:22:55PM
       25              THE WITNESS:     Can you go to the next slide, please.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 11 of 1271754
                                    ATHEY - DIRECT / EVEN

1:22:57PM
        1         So my assignment was to analyze whether Apple's conduct

1:23:02PM
        2    affects the competition faced by Apple's smartphone operating

1:23:06PM
        3    system platform and, further, to consider how middleware

1:23:12PM
        4    affects competition between mobile platforms and if Apple's

1:23:15PM
        5    conduct impedes the development of middleware.

1:23:19PM
        6    BY MR. EVEN:

1:23:19PM
        7    Q.   And did you reach any conclusions?

1:23:22PM
        8    A.   I did.   So at a high level, I have three main opinions.

1:23:28PM
        9         The first is that --

1:23:30PM
       10              THE COURT:     And to the extent you can, we tend not to

1:23:34PM
       11    read.

1:23:34PM
       12              THE WITNESS:     Yes.

1:23:36PM
       13              THE COURT:     Try to just testify.

1:23:37PM
       14              THE WITNESS:     Thank you.

1:23:40PM
       15              THE COURT:     Go ahead.

1:23:41PM
       16              THE WITNESS:     At a high level, switching and mixing

1:23:43PM
       17    and matching costs are locking consumers in to the iOS

1:23:48PM
       18    ecosystem.

1:23:50PM
       19         Second, middleware is something that can meaningfully

1:23:55PM
       20    reduce these costs for both users and developers.

1:23:59PM
       21         And, third, restrictions that are imposed by Apple block

1:24:06PM
       22    users and developers from using this middleware, and that has

1:24:10PM
       23    a consequence that Apple can retain its market power over both

1:24:16PM
       24    users and developers.

      25
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 12 of 1271755
                                    ATHEY - DIRECT / EVEN

1:24:18PM
        1    BY MR. EVEN:

1:24:19PM
        2    Q.     So you start by talking about switching costs, so let's

1:24:25PM
        3    start with that.

1:24:25PM
        4                MR. EVEN:   And if we can go to the next slide.

1:24:27PM
        5    BY MR. EVEN:

1:24:27PM
        6    Q.     What are switching costs?

1:24:32PM
        7    A.     Basically, switching costs are just the costs that you

1:24:35PM
        8    bear when you leave one platform, like in this case iOS, and

1:24:39PM
        9    go to a different platform, like Android.

1:24:43PM
       10    Q.     So let's take a look at the steps that you have here on

1:24:46PM
       11    the slide, and let's start with the first step.

1:24:49PM
       12           Can you explain the first step that a user switching from

1:24:53PM
       13    iOS to Android needs to take, as portrayed on the slide.

1:24:57PM
       14    A.     So, first, a user has been consuming services with their

1:25:02PM
       15    iOS, and so they are going to need to look and see, for each

1:25:07PM
       16    of their apps, whether they can find those apps on Android.

1:25:11PM
       17           Now, a typical user has more than a hundred apps, so they

1:25:17PM
       18    need to determine for each one if they can find them on

1:25:21PM
       19    Android.

1:25:23PM
       20    Q.     At the time that the user is considering buying, for

1:25:26PM
       21    instance, a Samsung Galaxy phone, why wouldn't the user

1:25:31PM
       22    already know whether their apps are available on Android or

1:25:35PM
       23    not?

1:25:36PM
       24    A.     So when they are consuming an app on iOS, Apple's

       PM
1:25:41PM
       25    restrictions prevent the developer from informing the user
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 13 of 1271756
                                    ATHEY - DIRECT / EVEN

1:25:45PM
        1    about what other platforms they might find that app on.

1:25:50PM
        2         So they can't tell just from looking at their apps on

1:25:54PM
        3    their iPhone where else they might be able to find that, in

1:25:59PM
        4    particular, in this case, Android.

1:26:03PM
        5    Q.   Going to the next step, you talk about identifying

1:26:07PM
        6    alternatives.

1:26:08PM
        7         What are you referring to in that step?

1:26:11PM
        8    A.   So not every app that they have on iOS might be available

1:26:16PM
        9    on an Android.     And so if there is an app that is not

1:26:22PM
       10    available on Android, they would need to do the research to

1:26:26PM
       11    figure out which new app they might buy.

1:26:29PM
       12         Now, they've already made a purchase and own that app on

1:26:32PM
       13    iOS, so they're going to be incurring a new cost to receive

1:26:36PM
       14    similar services.     They will need to compare and determine

1:26:39PM
       15    which app provides similar functionality and do a cost-benefit

1:26:44PM
       16    analysis for their new purchase.

1:26:48PM
       17    Q.   And can you provide the Court with an example of an app

1:26:54PM
       18    that exists on iOS but doesn't exist on Android, for

1:26:58PM
       19    example?

1:26:58PM
       20    A.   Yes.   So one example is the Moleskine Flow, and this is an

1:27:03PM
       21    app that students might use to take notes or draw figures or

1:27:08PM
       22    diagrams in class.     And this app is available on the iOS,

1:27:12PM
       23    but it's not available on Android.

1:27:17PM
       24    Q.   Turning to the third step on this slide, you talk about

1:27:20PM
       25    purchase, repurchase, and reinstall.        So let's take these one
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 14 of 1271757
                                    ATHEY - DIRECT / EVEN

1:27:24PM
        1    by one.

1:27:25PM
        2           What do you mean by "purchase."

1:27:27PM
        3    A.     Well, so when you are buying a different app to replace

1:27:30PM
        4    the functionality, then you need to buy it.          That's the

1:27:35PM
        5    purchase.

1:27:35PM
        6    Q.     And what do you mean by "repurchase"?

1:27:36PM
        7    A.     So for other apps, you've purchased it on the iOS, but

1:27:43PM
        8    if you -- even if the same app is available on Android, you

1:27:46PM
        9    would need to purchase it again, pay that same price or

1:27:52PM
       10    similar price for that app on Android, even though you already

1:27:57PM
       11    bought it on iOS.

1:27:58PM
       12           So an example like that would be Minecraft.       Minecraft is

1:28:02PM
       13    a game where you pay before you download it.          If you had done

1:28:08PM
       14    that, say paid 6.99 on iOS and purchased it, you own it on

1:28:14PM
       15    iOS.    If you go to Android and you want Minecraft, you will

1:28:19PM
       16    pay 6.99 again to have the game on Android.

1:28:26PM
       17    Q.     Then you mentioned reinstalling or installing.

1:28:28PM
       18           Which apps would you need to reinstall on the Android

1:28:34PM
       19    device?

1:28:34PM
       20    A.     All of them.

1:28:36PM
       21    Q.     Let's go to the last step, "Transfer of app-related data."

1:28:43PM
       22           What is that referring to?

1:28:46PM
       23    A.     Well, so in some cases, transferring app-related data

1:28:49PM
       24    might not be possible.      So with Moleskine, I have a library of

       PM
1:28:53PM
       25    notes and drawings and sketches that I made while taking notes
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 15 of 1271758
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1:28:56PM
        1    in class, and so given that I won't have Moleskine, I can't

1:29:02PM
        2    transfer that data.

1:29:03PM
        3         But for other apps, you might have in-app purchases.           You

1:29:10PM
        4    might have made progress, settings, customized it to your own

1:29:14PM
        5    experience.    If you are in a game, you might have progressed

1:29:17PM
        6    through levels or spent time earning yourself up.           And that's

1:29:20PM
        7    the kind of data that could be transferred if possible.

1:29:29PM
        8    Q.   What if you were buying a subscription -- and I apologize

1:29:31PM
        9    for the East Coast example -- but let's say I have The New

1:29:36PM
       10    York Times subscription that I bought through the App Store on

1:29:40PM
       11    my iPhone.

1:29:40PM
       12         What happens to that subscription if I want to switch to a

1:29:45PM
       13    Galaxy phone from Samsung?

1:29:48PM
       14    A.   So if I purchased that subscription on my iPhone, I need

1:29:51PM
       15    to continue to manage that subscription through Apple, even

1:29:55PM
       16    though I no longer have an Apple device to manage the

1:29:59PM
       17    subscription.

1:29:59PM
       18         So I might need to find a different device and go to the

1:30:05PM
       19    website, for example, and log in to Apple.         If I needed to

1:30:09PM
       20    update my credit card or, say, add a feature, some extra

1:30:15PM
       21    payment for, I don't know, a crossword puzzle, something like

1:30:19PM
       22    that, on the New York Times, I would need to still go back to

1:30:23PM
       23    Apple to manage that, even though I now have an Android device

1:30:27PM
       24    and that's where I'm using it.

1:30:30PM
       25              THE COURT:     Really?   I thought you could just go --
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 16 of 1271759
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1:30:35PM
        1    well, I guess I don't know Androids, but if it went the other

1:30:38PM
        2    way, I thought all these subscription services just asked you

1:30:42PM
        3    to put in your I.D. number, your password, and then it was

1:30:47PM
        4    accessible.

1:30:49PM
        5                THE WITNESS:   So that depends on which kind of

1:30:52PM
        6    service and what kind of account management system the app has

1:30:56PM
        7    created.

1:30:56PM
        8         So you might be thinking of an experience like Netflix,

1:30:59PM
        9    where you've signed up for Netflix, say through a browser, and

1:31:05PM
       10    then when you log in to Netflix on the Android or the

1:31:08PM
       11    iPhone --

1:31:09PM
       12                THE COURT:   I'm talking about The New York Times.

1:31:11PM
       13                THE WITNESS:   -- you can get that.

1:31:11PM
       14         But so for the New York Times, you might have bought the

1:31:12PM
       15    subscription in different ways.        So if you bought it

1:31:16PM
       16    originally through the web, then the New York Times is

1:31:20PM
       17    managing your subscription.

1:31:21PM
       18         And so you've entered your payment details with The New

1:31:24PM
       19    York Times, and then you could -- say you bought it a long

1:31:29PM
       20    time ago on the web and now you want to use it on Android, you

1:31:32PM
       21    would then authenticate that way.

1:31:34PM
       22         But if you purchase a subscription through Apple, then

1:31:38PM
       23    Apple has the payment information, and Apple's restrictions

1:31:43PM
       24    would require, for example, that only Apple could provide a

1:31:47PM
       25    refund or, you know, any other services around that payment.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 17 of 1271760
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1:31:54PM
        1         So if you didn't have a computer, for example, or you

1:32:00PM
        2    didn't have easy access to one, then what you might want to do

1:32:04PM
        3    is instead manage it through an Android app.          At that point,

1:32:08PM
        4    you would go to the Apple website.        When the subscription runs

1:32:14PM
        5    out, you can cancel the subscription there and then create a

1:32:18PM
        6    new subscription a different way.

1:32:20PM
        7                THE COURT:   I see.   Thank you.

1:32:22PM
        8    BY MR. EVEN:

1:32:26PM
        9    Q.   Looking at the four steps that you've just laid out on

1:32:30PM
       10    this slide, Professor Athey, how does this process compare to

1:32:35PM
       11    the replacement of an older iPhone with a newer iPhone?

1:32:41PM
       12    A.   It's very different.     If you upgrade to a new iPhone, all

1:32:46PM
       13    of your apps automatically install and the app-related data is

1:32:54PM
       14    automatically passed over in almost every case.

1:32:58PM
       15         So you pick up your new iPhone, the apps are installed.

1:33:03PM
       16    You haven't had to search for any of them.         Your app-related

1:33:07PM
       17    data would also be transferred, your subscriptions, and so you

1:33:11PM
       18    would just pick up right where you left off with the new

1:33:15PM
       19    phone.

1:33:15PM
       20    Q.   Thank you.

1:33:16PM
       21         I believe in your conclusions, you also mentioned

1:33:21PM
       22    something that you referred to as "mixing and matching costs."

1:33:25PM
       23         What are mixing and matching costs?

1:33:27PM
       24    A.   Yes.

1:33:27PM
       25                THE WITNESS:   Can we go to the next slide, please.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 18 of 1271761
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1:33:30PM
        1         So, broadly, this is just the cost to users of accessing

1:33:36PM
        2    apps and services on multiple devices with incompatible

1:33:42PM
        3    operating systems.

1:33:43PM
        4    BY MR. EVEN:

1:33:44PM
        5    Q.   And could you explain what you show in this scenario on

1:33:47PM
        6    the slide here as it relates to mixing and matching costs?

1:33:52PM
        7    A.   Sure.   So at different times of day, you're going to have

1:33:57PM
        8    access to different devices or different devices may be more

1:34:02PM
        9    convenient to you or, you know, devices may be shared within a

1:34:09PM
       10    family, so you don't always have access to the same device.

1:34:13PM
       11         So if you were in the park in the morning, you might have

1:34:16PM
       12    access to an iPhone.      At a different time of day, say in the

1:34:21PM
       13    afternoon, you might be doing productivity-related activities,

1:34:25PM
       14    say on a laptop with a larger screen and a keyboard, where you

1:34:30PM
       15    can input information.      And then at night before bed, you

1:34:33PM
       16    might want a medium-size screen to read a book with larger

1:34:41PM
       17    print or to watch a show.

1:34:42PM
       18         So you'll be actively engaged with different devices for

1:34:48PM
       19    different reasons, but you still might like to have access to

1:34:55PM
       20    things like communications or apps that -- where you might

1:35:00PM
       21    need to access information that had shared data, et cetera, at

1:35:04PM
       22    these different places.

1:35:07PM
       23         And so the mixing and matching costs here would be the

1:35:13PM
       24    costs associated with trying to access those from different

       PM
1:35:18PM
       25    platforms.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 19 of 1271762
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1:35:20PM
        1    Q.   So can you speak to the bullet points on the right?           What

1:35:24PM
        2    are the costs that you have identified here?

1:35:27PM
        3    A.   Well, so just for example, suppose that I have an iPhone

1:35:31PM
        4    and I'm considering using a cheaper Android tablet for my

1:35:38PM
        5    evening videos.     If I wanted to also be able to, you know,

1:35:43PM
        6    access communications or things like that, then I would need

1:35:47PM
        7    to think about identifying and locating cross-platform apps,

1:35:51PM
        8    apps that would work across the iOS and Android.

1:35:57PM
        9         And if I wanted any services on both of them, I would need

1:36:02PM
       10    to repurchase apps as I described before.         So similar to the

1:36:06PM
       11    switching scenario, but now I'm using different device types.

1:36:14PM
       12    Q.   So you mentioned that this can happen within families.

1:36:17PM
       13    Have you prepared a slide explaining what are mixing and

1:36:23PM
       14    matching costs within a family?

1:36:24PM
       15    A.   Yeah, so families are a very common example.         There's

1:36:26PM
       16    other groups where this occurs too.

1:36:29PM
       17         And in this kind of scenario, a family might acquire

1:36:33PM
       18    different devices over time, so you might start out a parent

1:36:38PM
       19    has a personal phone.      Maybe they have started out with an

1:36:41PM
       20    iPhone.   There are scenarios where they have their iPhone

1:36:49PM
       21    conveniently with them while they are waiting with their

1:36:52PM
       22    child, and so they start buying apps for that child to use in

1:36:57PM
       23    scenarios like that.      And so they accumulate a set of games

1:37:03PM
       24    for their kid on their iPhone.

1:37:06PM
       PM
       25         Now, later they might decide they want also a tablet for
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 20 of 1271763
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1:37:12PM
        1    the family to share.      If they were considering getting a

1:37:17PM
        2    low-cost tablet, they would have to then contemplate the same

1:37:23PM
        3    kinds of switching costs or mixing and matching costs I

1:37:29PM
        4    previously described.      They would need to contemplate whether

1:37:31PM
        5    they were going to purchase -- repurchase apps or stay within

1:37:35PM
        6    the ecosystem.

1:37:37PM
        7         So suppose they bought an iPad.       They could then bring

1:37:40PM
        8    over the apps that they had already purchased on the iPhone

1:37:45PM
        9    through family sharing, so they wouldn't have to repurchase

1:37:48PM
       10    the apps in that case.      But they might buy some additional

1:37:54PM
       11    games, so maybe they buy a subscription to Minecraft on the

1:38:00PM
       12    family tablet.

1:38:01PM
       13         Now later again, they might contemplate, as a child grows,

1:38:06PM
       14    buying them their first phone, a phone to have available

1:38:10PM
       15    for -- whether it's a Zoom call to school or, you know,

1:38:15PM
       16    calling when they need to be picked up from an activity.

1:38:19PM
       17         But if they wanted to buy a low-cost Android device,

1:38:24PM
       18    again, worried they might lose it, crack the screen, don't

1:38:27PM
       19    think you should be spending, you know, as much money on a

1:38:30PM
       20    child's phone, instead of just being able to consider the cost

1:38:34PM
       21    of the device, they would also have to consider the cost of

1:38:38PM
       22    repurchasing apps that had already been accumulated.

1:38:41PM
       23         And so in that way, the -- you have a disincentive to

1:38:47PM
       24    switch as you accumulate devices within a family.

1:38:51PM
       25    Q.   So I think you covered the third -- three points.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 21 of 1271764
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1:38:54PM
        1         You also mention here on the slide "parental controls."

1:38:58PM
        2         What are you referring to there?

1:39:00PM
        3    A.   So in this scenario, of course, many parents want to limit

1:39:04PM
        4    the screen time of their children and they also want to make

1:39:08PM
        5    sure they are not exposed to inappropriate content.

1:39:10PM
        6         So they might -- in the scenario where they had the iPhone

1:39:16PM
        7    and the iPad, they might be using parental controls from

1:39:23PM
        8    Apple.     But if they went to add a device outside, they would

1:39:29PM
        9    need to search for an app that would allow them to manage

1:39:37PM
       10    cross-platform and, again, potentially purchase that.

1:39:40PM
       11    Q.   And can they search for an app that works cross-platform

1:39:44PM
       12    on the Apple App Store?

1:39:47PM
       13    A.   No.    That information is not allowed to be shared with

1:39:51PM
       14    consumers, so when you are searching for those apps, the apps

1:39:56PM
       15    can't advertise what other platforms they might be on.

1:40:02PM
       16         And so when making that original purchase, you might not

1:40:07PM
       17    have focused on the fact -- or adopt- -- making your initial

1:40:14PM
       18    adoption decision, you might not have focused on the fact that

1:40:16PM
       19    it wouldn't provide you that cross-platform functionality, and

1:40:21PM
       20    it would be difficult to know that.

1:40:25PM
       21                MS. DUNN:    Objection, Your Honor.    Move to strike.

1:40:26PM
       22    That's an opinion that was not disclosed in Dr. Athey's

1:40:28PM
       23    report.

1:40:31PM
       24                THE COURT:    So what paragraph of your report is it?

1:40:34PM
       25    Can I find it if it's there?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 22 of 1271765
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1:40:36PM
        1                MR. EVEN:    I believe it's in paragraph 31 of the

1:40:40PM
        2    written direct, which was stipulated to.         I can go back and

1:40:46PM
        3    find it in the report itself, but...

1:40:48PM
        4                THE COURT:    I'm looking at paragraph 31.      You mean of

1:40:50PM
        5    the written or of the direct testimony?

1:40:52PM
        6                MR. EVEN:    Of the written direct testimony.      In the

1:41:00PM
        7    middle --

1:41:01PM
        8                THE COURT:    Let me read, Counsel.

1:41:26PM
        9         Is there a dispute that Apple prohibits advertising of

1:41:35PM
       10    cross-platform apps?       Ms. Dunn, is there a dispute?

1:41:40PM
       11                MS. DUNN:    Your Honor, no, but this witness has not

1:41:43PM
       12    disclosed any opinions on that topic.

1:41:45PM
       13                THE COURT:    Overruled.   I think it's within the

1:41:49PM
       14    confines of 31, especially given there is no dispute.

1:41:52PM
       15         Proceed.

1:41:54PM
       16                MR. EVEN:    Thank you, Your Honor.

1:41:55PM
       17    BY MR. EVEN:

1:41:56PM
       18    Q.   So I want to switch a little bit.        You've talked a little

1:41:59PM
       19    bit about the cost to the users.        Obviously, the Court has

1:42:04PM
       20    heard a lot about how these markets have two sides to them.

1:42:08PM
       21         And my question to you is, wouldn't the developers go out

1:42:13PM
       22    of their way to solve these problems for the users?

1:42:17PM
       23    A.   The developers have a strong incentive to try to solve

1:42:21PM
       24    these problems for consumers.

1:42:23PM
       25                THE WITNESS:    Can we go to the next slide, please.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 23 of 1271766
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1:42:26PM
        1         So the reason a developer cares so much about this is that

1:42:31PM
        2    the more the user can consume their services, the more value

1:42:37PM
        3    the consumer gets from them.       So if they can access the app

1:42:43PM
        4    both, you know, in the park and in bed at night, that's going

1:42:49PM
        5    to create more value for the developer.

1:42:52PM
        6         And if the developer can maintain a relationship with the

1:42:55PM
        7    user, that -- that's also beneficial for the developer.            So

1:43:02PM
        8    the developer wants to make it easy for their relationship to

1:43:06PM
        9    go with the user wherever the user wants to go.

1:43:11PM
       10    BY MR. EVEN:

1:43:12PM
       11    Q.   And so what is the impediment to that?        And maybe let's

1:43:16PM
       12    talk about the first two that you were alluding to on the

1:43:19PM
       13    slide.

1:43:19PM
       14    A.   Well, so the developer faces costs to making this happen.

1:43:26PM
       15         So the first thing is that if the developer wants to

1:43:30PM
       16    maintain a relationship with the user, they need an account

1:43:34PM
       17    management infrastructure.       So they need, basically, a

1:43:38PM
       18    database that helps them keep track of who the users are.

1:43:42PM
       19         And they also need a payment infrastructure -- a

1:43:48PM
       20    cross-platform payment infrastructure that will allow them to

1:43:53PM
       21    make sure that things that a user has bought in one place

1:43:57PM
       22    would be available in a different place.

1:44:00PM
       23         Now, those things are costly.       Large developers would have

1:44:07PM
       24    the scale economies, in principle, to justify the costs, but

       2
       PM
       PM
1:44:14PM
       25    smaller developers often wouldn't build those.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 24 of 1271767
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1:44:18PM
        1    Q.   So going to the third point in your slide about reduction

1:44:21PM
        2    in engagement, what might cause reduction in engagement for

1:44:26PM
        3    the developer?

1:44:28PM
        4    A.   Well, so it's a pain to create an account and come up with

1:44:33PM
        5    a new password.     And if you're looking at an application,

1:44:36PM
        6    considering it, and you haven't used it yet, you're not sure

1:44:41PM
        7    what the value is going to be, a user might not want to bother

1:44:47PM
        8    with going through this hassle of, you know, one more account.

1:44:51PM
        9    And so in practice, that can really get in the way of an

1:44:58PM
       10    application incentivizing the user to do it.

1:45:02PM
       11         So putting those two things together, the infrastructure

1:45:05PM
       12    is costly to build, which may not be economical for midsize or

1:45:10PM
       13    smaller apps, and the fact that it's difficult to get the

1:45:13PM
       14    consumers to do it, you see that even though they would like

1:45:17PM
       15    it, small and midsize apps would typically not do this, even

1:45:22PM
       16    some larger apps.

1:45:25PM
       17    Q.   Going to the last point, "No one-stop shop," what are you

1:45:29PM
       18    referring to on that?

1:45:32PM
       19    A.   Well, the developers, all else equal, want to make things

1:45:36PM
       20    easy for users.     But the problem that I described the user was

1:45:40PM
       21    facing was not just bringing over one app from one platform to

1:45:45PM
       22    the next, but bringing over all of the apps.          It's a big

1:45:49PM
       23    collection of apps.

1:45:50PM
       24         And so it's the sum of all of those frictions across lots

       PM
1:45:53PM
       25    of apps, passwords, accounts, that friction, that can be an
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 25 of 1271768
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1:45:58PM
        1    impediment to someone to switching.

1:46:01PM
        2         And so solving that problem for a collection of apps is

1:46:06PM
        3    not something that a single developer can solve, even though

1:46:10PM
        4    they wish it was there.

1:46:12PM
        5    Q.   Do developer also incur any costs simply for trying to

1:46:19PM
        6    operate their apps on different platforms, on both iOS and

1:46:23PM
        7    Android in this case?

1:46:25PM
        8    A.   Yes.

1:46:25PM
        9         So we go to the next slide, please.

1:46:28PM
       10         So we've just been talking about costs to a developer from

1:46:33PM
       11    trying to provide services to their users across two platforms

1:46:38PM
       12    like iOS and Android.

1:46:42PM
       13         To provide their services across two platforms, the

1:46:46PM
       14    developers also have to port the code.         Different code runs

1:46:51PM
       15    on iOS and Android, and it's costly to create that

1:46:56PM
       16    additional code base.      So those are called porting costs.

1:47:01PM
       17    BY MR. EVEN:

1:47:01PM
       18    Q.   And so given these porting costs, can you explain why is

1:47:08PM
       19    it that we still find many, many apps across both iOS and

1:47:15PM
       20    Android?

1:47:16PM
       21    A.   So a developer is going to consider the costs and benefits

1:47:20PM
       22    from porting.

1:47:21PM
       23         For big, mature, established platforms like iOS and

1:47:27PM
       24    Android, there are lots of consumers there.          So, in general,

       PM
1:47:30PM
       25    the benefits of porting your code are outweighed -- are higher
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 26 of 1271769
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1:47:37PM
        1    than the cost of doing the porting.

1:47:39PM
        2         So today, you know, most important apps are on both

1:47:44PM
        3    platforms and multihoming is common.        But those costs that --

1:47:50PM
        4    we'll see a very different scenario when thinking about an

1:47:56PM
        5    entering platform.

1:47:57PM
        6         So an entering platform is going to face what's widely

1:48:01PM
        7    known as the chicken and egg problem.         So the chicken and egg

1:48:07PM
        8    problem is that a developer doesn't want to bother porting

1:48:12PM
        9    their code to a platform without many users, but a user

1:48:17PM
       10    doesn't want to go to a new platform without many developers.

1:48:21PM
       11         So the porting costs lead to the app barrier to entry,

1:48:28PM
       12    which is widely understood to be the barrier in this type of

1:48:36PM
       13    market, and in particular, that app barrier to entry supports

1:48:40PM
       14    the high profits that otherwise we would expect would invite

1:48:46PM
       15    entry.

1:48:48PM
       16    Q.   So trying to summarize a little bit, you talked about

1:48:53PM
       17    switching costs, you talked about mixing and matching costs,

1:48:56PM
       18    you talked about cross-platform management costs, and then you

1:49:00PM
       19    talked about cross-platform porting costs.

1:49:03PM
       20         In your opinion, how do these costs, in the aggregate,

1:49:07PM
       21    impact competition between iOS and Android?

1:49:13PM
       22    A.   So in my opinion, they stifle competition between iOS

1:49:18PM
       23    and Android.    So we're talking about a scenario where we have

1:49:25PM
       24    a stable duopoly where most users are already locked in and

       PM
1:49:33PM
       25    where even the few new arriving users, like children coming of
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 27 of 1271770
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1:49:40PM
        1    age, are already going to be influenced by the platform

1:49:44PM
        2    purchases of their parents.

1:49:47PM
        3         So in this environment with locked-in consumers, we have a

1:49:53PM
        4    scenario where the platforms are adding additional frictions

1:50:01PM
        5    to an environment where we already expected to have -- to have

1:50:08PM
        6    switching costs.     And these additional costs create --

1:50:11PM
        7    maintain market power over both users and developers.

1:50:18PM
        8         So from the user perspective, the fact that you have these

1:50:25PM
        9    switching costs means that you're going to be less sensitive

1:50:29PM
       10    to low prices or new features that a platform introduces.            You

1:50:38PM
       11    know, as your needs change over time, you might want to switch

1:50:42PM
       12    platforms and you might be attracted by a feature that meets

1:50:46PM
       13    your needs, but the switching costs impede the consumer's

1:50:50PM
       14    response to that and also thus create less incentive for firms

1:50:56PM
       15    to create them.

1:50:57PM
       16         On the developer side, thinking from that perspective,

1:51:00PM
       17    it's exactly locked-in consumers that creates the market power

1:51:07PM
       18    over developers.     The developers understand that even a

1:51:12PM
       19    popular developer can't induce consumers to switch platforms

1:51:19PM
       20    just to get that app and, as a result, an increase in consumer

1:51:25PM
       21    switching costs will increase the market power the platform

1:51:30PM
       22    can exert over developers.

1:51:33PM
       23    Q.   Thank you.

1:51:35PM
       24         Do you understand that some of the Apple experts in this

1:51:38PM
       25    case have criticized you for not ruling out the possibility
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 28 of 1271771
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1:51:42PM
        1    that switching costs in this case are, in fact,

1:51:44PM
        2    procompetitive?

1:51:47PM
        3    A.   Yes.

1:51:48PM
        4                THE WITNESS:   Excuse me.     Your Honor, the screen

1:51:52PM
        5    seems to have gone blank.

1:51:55PM
        6                THE COURT:   It may have.    I'm not -- I don't control

1:51:56PM
        7    that.

1:51:56PM
        8                THE WITNESS:   Yeah, sorry.    Yes.   Thank you.

1:51:58PM
        9         Yes, I'm aware.

1:52:04PM
       10    BY MR. EVEN:

1:52:04PM
       11    Q.   And do you agree with that criticism?

1:52:06PM
       12    A.   No.

1:52:07PM
       13    Q.   And can you very briefly explain why you disagree with

1:52:11PM
       14    that criticism?

1:52:13PM
       15    A.   So the consensus of economists is that when you see a

1:52:19PM
       16    setting where firms choose to impose additional switching

1:52:26PM
       17    costs, artificial switching costs that create real costs for

1:52:31PM
       18    consumers, they are doing that in pursuit of profits.           That's

1:52:36PM
       19    why they choose to do so, for example, with high prices.            And

1:52:44PM
       20    that can be harmful for consumers.

1:52:47PM
       21         Now, the papers cited by Apple are consistent with that,

1:52:53PM
       22    that now they -- in different settings, there can be edge

1:53:01PM
       23    cases, cases in dynamic markets with, for example, entry or

1:53:06PM
       24    frequent switching where the primary focus of competition is

1:53:12PM
       25    new users and that's what's driving firm decisions.            In that
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 29 of 1271772
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1:53:16PM
        1    case, introductory discounts can become a locus of

1:53:23PM
        2    competition.

1:53:24PM
        3         But that's the exact opposite of the case we have here,

1:53:27PM
        4    where there are already high switching costs.          We don't see a

1:53:33PM
        5    lot of switching, and the locus of competition on new users is

1:53:41PM
        6    small and the incentives are shaped by the existing users.

1:53:46PM
        7    Q.   Thank you.

1:53:46PM
        8         So I would like to switch gears a little bit and turn to

1:53:50PM
        9    your second conclusion that had to do with the effects or

1:53:55PM
       10    potential effects of middleware.

1:53:56PM
       11         And just to level set, what are you referring to when you

1:54:02PM
       12    are talking about middleware?

1:54:05PM
       13    A.   So middleware is technology that facilitates users and

1:54:10PM
       14    developers interacting across different platforms, reducing

1:54:18PM
       15    costs such as the switching and mixing and matching costs or

1:54:22PM
       16    porting costs that we have been discussing.

1:54:26PM
       17    Q.   So is middleware a well-understood concept in the area of

1:54:31PM
       18    industrial economics?

1:54:33PM
       19    A.   Yes, it's a well-understood concept.        When you say

1:54:38PM
       20    "middleware" in economics, it's most closely associated with

1:54:42PM
       21    the Microsoft antitrust case.

1:54:44PM
       22         So the concept in that case centered around the idea that

1:54:51PM
       23    middleware such as browsers could facilitate users and

1:54:56PM
       24    developers interacting across platforms.

1:55:00PM
       25         For example, if a user with -- on one of the incumbent
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 30 of 1271773
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1:55:06PM
        1    platforms was using the web on their browser, say, on Windows,

1:55:10PM
        2    the fact that they could also consume those apps through a

1:55:16PM
        3    browser on an entering platform would reduce the barriers to

1:55:22PM
        4    entry due to the chicken and egg problem.

1:55:25PM
        5         From the developer side, because the developers could

1:55:27PM
        6    create experiences through the browser, the developers were

1:55:32PM
        7    willing to incur the cost of meeting the consumers on the

1:55:36PM
        8    incumbent platform through the browser, but then they wouldn't

1:55:39PM
        9    incur porting costs if the consumers went to a new platform.

1:55:43PM
       10         So middleware has this prominent role as something -- one

1:55:49PM
       11    of the things that can help a new entrant overcome the app

1:55:55PM
       12    barrier to entry, and it thus plays a central role in platform

1:56:01PM
       13    competition.

1:56:01PM
       14         So that's exactly the concept as I'm using it here.           It's

1:56:08PM
       15    a different technology today than in the '90s, but the

1:56:13PM
       16    economic consequences and concept are the same.

1:56:17PM
       17    Q.   So can you provide some examples of middleware that you

1:56:21PM
       18    think are relevant to this case?

1:56:24PM
       19    A.   So two types of middleware I focused on.         One is

1:56:29PM
       20    cross-platform app stores and the other are app streaming

1:56:37PM
       21    platforms.

1:56:37PM
       22    Q.   So let's start with cross-platform app stores.

1:56:46PM
       23         You mentioned -- strike that.

1:56:46PM
       24         Can you -- maybe let's just start from the basics.          What

1:56:50PM
       25    do you mean by "cross-platform app store"?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 31 of 1271774
                                    ATHEY - DIRECT / EVEN

1:56:53PM
        1    A.   Sure.

1:56:53PM
        2              THE WITNESS:     The next slide, please.

1:56:55PM
        3         So cross-platform app stores operate across multiple

1:57:02PM
        4    platforms, and therefore they allow users to migrate and

1:57:06PM
        5    synchronize their apps on all of those platforms, which has

1:57:11PM
        6    the benefit of reducing the switching and mixing and matching

1:57:14PM
        7    costs we talked about earlier.       The cross-platform app stores

1:57:19PM
        8    can provide some or all of the services to help mitigate

1:57:26PM
        9    those.

1:57:26PM
       10    BY MR. EVEN:

1:57:26PM
       11    Q.   So when you talk about cross-platform app stores, just so

1:57:30PM
       12    we all understand what that's all about, how would that

1:57:35PM
       13    actually work in reality?       What would a cross-platform app

1:57:39PM
       14    store allow a user to do when they switch from an iOS phone

1:57:44PM
       15    to an Android phone?

1:57:46PM
       16    A.   So a cross-platform app store ideally would make it almost

1:57:49PM
       17    as easy as upgrading your iPhone today.         So you -- going from

1:57:55PM
       18    iPhone to Android, you would need to download --

1:58:00PM
       19              THE COURT:     Just --

1:58:00PM
       20              THE WITNESS:     I'm sorry.

1:58:00PM
       21              THE COURT:     I'm going interrupt and then you can

1:58:04PM
       22    finish off.

1:58:04PM
       23         Is this the same thing, back to our New York Times

1:58:07PM
       24    example, as if I had gone to The New York Times, gotten my

1:58:14PM
       25    subscription directly from them, and then I could use it on
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 32 of 1271775
                                    ATHEY - DIRECT / EVEN

1:58:18PM
        1    any device that I wanted?

1:58:19PM
        2              THE WITNESS:     That would be one benefit, yes.

1:58:22PM
        3              THE COURT:     But not just a benefit, that's an

1:58:24PM
        4    alternative mechanism to get the same result, correct?

1:58:27PM
        5              THE WITNESS:     For a single app, yes.

1:58:33PM
        6              THE COURT:     So one of the problems is that on the

1:58:36PM
        7    Android and the iPhone, The New York Times can't tell them,

1:58:42PM
        8    Hey, go and sign up on our website and then you can have

1:58:48PM
        9    access across devices.

1:58:50PM
       10              THE WITNESS:     Yes.

1:58:50PM
       11              THE COURT:     Okay.    So if they did that, then there

1:58:53PM
       12    wouldn't really be the same kind of need for this

1:58:57PM
       13    cross-platform app store that you're talking about.

1:59:02PM
       14              THE WITNESS:     I think it -- that would be a big

1:59:06PM
       15    benefit, I agree, that you could alert people to the most

1:59:12PM
       16    efficient way to pay.      And if people valued cross-platform

1:59:16PM
       17    access, that would be a benefit.        And if consumers understood

1:59:19PM
       18    that, they would need to do it.

1:59:21PM
       19         Consumers do get clutzy and disconnected and sensitive to

1:59:28PM
       20    delays when trying to complete that type of activity, and so

1:59:33PM
       21    making it easy, you know, being able to also, you know, get

1:59:38PM
       22    there quickly would be helpful.        But yes.

1:59:40PM
       23              THE COURT:     That would be, one, their choice, and,

1:59:43PM
       24    two, because there are lots of various considerations in

1:59:48PM
       25    antitrust law, that would be an alternative solution.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 33 of 1271776
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1:59:52PM
        1                 THE WITNESS:    To the problem of a single app.     And so

1:59:54PM
        2    that would be helpful, I think, especially for the largest

1:59:57PM
        3    apps.      So the --

2:00:00PM
        4                 THE COURT:    Proceed.

2:00:01PM
        5    BY MR. EVEN:

2:00:04PM
        6    Q.   So just to pick up on the Court's question, how -- you say

2:00:11PM
        7    it would solve the problem for a single app.

2:00:14PM
        8         Would that solve the problem for the -- what we refer to

2:00:17PM
        9    as the one-stop shop problem?

2:00:20PM
       10    A.   No.     So smaller and midsize apps, apps where the consumer

2:00:30PM
       11    may be uncertain about the value that they are going to get,

2:00:34PM
       12    would still find it difficult to induce consumers to go and

2:00:41PM
       13    create those accounts.

2:00:42PM
       14         And then, again, from the competition perspective, what's

2:00:48PM
       15    important is the sort of aggregate switching costs the

2:00:51PM
       16    consumer perceives.        So, you know, even if there was

2:00:55PM
       17    cross-platform app store, a consumer might still be willing to

2:01:00PM
       18    separately log in to Netflix, you know.         They are excited

2:01:05PM
       19    about their show and, you know, they are going to get to the

2:01:07PM
       20    next episode.

2:01:09PM
       21         But they -- that would be -- it wouldn't solve the problem

2:01:16PM
       22    for imagining figuring out all of your accounts and

2:01:19PM
       23    successfully getting them over to there across a hundred apps.

2:01:24PM
       24                 MS. DUNN:    Objection, Your Honor.   I'm happy just to

2:01:27PM
       25    state this for the record, because I think it's included in
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 34 of 1271777
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2:01:29PM
        1    the prior objection, but there is a lot of testimony about

2:01:32PM
        2    what consumers want and what consumers do.         So for these

2:01:36PM
        3    purposes, we would just note that for the record.

2:01:40PM
        4              THE COURT:     Well, again, Ms. Dunn, with respect to

2:01:44PM
        5    the last objection, it didn't seem to me that there was any

2:01:48PM
        6    dispute, so I didn't mind it.

2:01:50PM
        7         Is what you are saying is that there is no evidence in the

2:01:53PM
        8    record with respect to the consumers' perspective?           I haven't

2:02:00PM
        9    memorized all these expert reports.

2:02:03PM
       10              MS. DUNN:    I understand, Your Honor, and that's why I

2:02:04PM
       11    wanted to flag for the Court.

2:02:06PM
       12         Dr. Athey has testified quite a lot, subject to our

2:02:10PM
       13    original objection, about what consumers think, what they

2:02:14PM
       14    believe, what they are doing, and there's not evidence in the

2:02:18PM
       15    record as to that and we don't believe there will be.           So it

2:02:22PM
       16    is covered by the original objection, but it's happened so

2:02:24PM
       17    much I just wanted to note it for the record.

2:02:27PM
       18              THE COURT:     Well, have you done any survey evidence

2:02:30PM
       19    or research with respect to consumer actions, and, if so, can

2:02:37PM
       20    you point me to it in your direct testimony?

2:02:44PM
       21              THE WITNESS:     So the number of apps, for example --

2:02:48PM
       22              THE COURT:     Limited to your testimony.

2:02:48PM
       23              THE WITNESS:     I'm sorry.    So I did not conduct an

2:02:58PM
       24    original survey of consumers, if that was the first question.

2:03:07PM
       25         The facts about consumers --
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 35 of 1271778
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2:03:18PM
        1              MR. EVEN:    Your Honor, if I may?

2:03:19PM
        2              THE COURT:     No.

2:03:22PM
        3              THE WITNESS:     Okay.   I want -- I'm going to try to --

2:03:22PM
        4    I'll do my best to answer the question.

2:03:26PM
        5              THE COURT:     You have your direct testimony in front

2:03:27PM
        6    of you.

2:03:28PM
        7              THE WITNESS:     Yes, yes.

2:03:28PM
        8              THE COURT:     It's in your binder.

2:03:30PM
        9              THE WITNESS:     Okay.   Thank you.

2:03:32PM
       10              THE COURT:     I don't expect you to memorize the

2:03:34PM
       11    paragraphs either.     I had a law professor who could do that,

2:03:39PM
       12    but he was --

2:03:40PM
       13              THE WITNESS:     Not me, no.

2:03:41PM
       14              THE COURT:     And the question is, is there anything in

2:03:42PM
       15    the direct testimony regarding consumer habits?

2:03:48PM
       16              THE WITNESS:     Thank you.

2:04:16PM
       17              THE COURT:     We can do it another way so that the

2:04:18PM
       18    clock is not ticking.

2:04:19PM
       19              THE WITNESS:     Sure.   Yes.

2:04:19PM
       20              THE COURT:     The testimony with respect to consumer

2:04:20PM
       21    habits is stricken except that which exists in the direct

2:04:25PM
       22    testimony.    All right?

2:04:25PM
       23         Let's proceed.

2:04:26PM
       24              MR. EVEN:    Okay.

      25
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 36 of 1271779
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2:04:27PM
        1    BY MR. EVEN:

2:04:28PM
        2    Q.   Professor Athey, is research into consumers' preferences

2:04:34PM
        3    and consumer behavior in the space of technology something

2:04:37PM
        4    that you research in your day-to-day --

2:04:42PM
        5                THE COURT:    It doesn't matter if she does or not.          If

2:04:45PM
        6    it's not in the report and wasn't disclosed, it is not

2:04:48PM
        7    properly in front of the Court.

2:04:49PM
        8                MR. EVEN:    Oh, okay.    So I'm sorry, Your Honor, maybe

2:04:51PM
        9    I misunderstood.        If the objection is outside the scope, we

2:04:54PM
       10    can address that separately.         That's an easy objection.     I

2:04:57PM
       11    don't think -- I don't think that's what the objection was.              I

2:05:01PM
       12    thought the objection was that there isn't a basis for her

2:05:04PM
       13    opinions, which --

2:05:06PM
       14                THE COURT:    I understood it to be outside the scope.

2:05:09PM
       15                MR. EVEN:    Okay.

2:05:11PM
       16                MS. DUNN:    There's two objections here.

2:05:12PM
       17         One is she is testifying outside the scope.

2:05:14PM
       18         The second is she -- there is no basis for the assertions

2:05:21PM
       19    about what consumers do and think.         And there's quite a lot of

2:05:26PM
       20    this, and it is not going to be proven up by the factual

2:05:29PM
       21    record --

2:05:29PM
       22                THE COURT:    That's --

2:05:29PM
       23                MS. DUNN:    -- nor is it --

2:05:29PM
       24                THE COURT:    That's why I said it's outside the scope.

2:05:32PM
       25    So --
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 37 of 1271780
                                    ATHEY - DIRECT / EVEN

2:05:33PM
        1              MS. DUNN:    Thank you, Your Honor.

2:05:34PM
        2              THE COURT:     -- again, the testimony is stricken

2:05:36PM
        3    except to the extent that it is in the report.          I'm not -- she

2:05:40PM
        4    couldn't find it quickly.       I want to keep moving.      It doesn't

2:05:44PM
        5    sound like it's in the report.

2:05:45PM
        6         But go ahead.

2:05:47PM
        7              MR. EVEN:    Your Honor, I just want to make sure that

2:05:48PM
        8    the record is clear to me as to what it is that we are

2:05:52PM
        9    supposed to show.

2:05:53PM
       10         The testimony that Professor Athey is providing about

2:05:58PM
       11    users' switching costs, mixing and matching costs, and whether

2:06:02PM
       12    they want to do something or not is all in the report.

2:06:06PM
       13              THE COURT:     Correct.   And that's fine.     It's in the

2:06:09PM
       14    report.

2:06:10PM
       15              MR. EVEN:    Okay.    So what is it that -- I'm not

2:06:12PM
       16    entirely sure -- what is it that we are currently missing?

2:06:14PM
       17         If there is a question about a survey, I think Professor

2:06:21PM
       18    Athey answered that, and I can lay foundation as to why she

2:06:24PM
       19    has general 703 basis to attest to what consumers face and

2:06:31PM
       20    don't face and how consumers behave more generally.

2:06:34PM
       21              THE COURT:     If you want to go back to the report and

2:06:36PM
       22    use your time that way, that's fine.        I can tell you that when

2:06:39PM
       23    I read her report, I had lots of questions on this document

2:06:43PM
       24    about the factual basis for the opinions, and I am trusting

2:06:46PM
       25    that to the extent there is something there, you will all give
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 38 of 1271781
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2:06:49PM
        1    it to me.

2:06:50PM
        2                MR. EVEN:    Okay.

2:06:50PM
        3                THE COURT:    Because you all know your case better

2:06:52PM
        4    still, having lived with it for ten months, than I do.           If

2:06:57PM
        5    there is not a factual basis, I will not consider it and

2:07:02PM
        6    it's -- and it will ultimately be stricken.

2:07:05PM
        7         But as I understood it, you all were still negotiating

2:07:10PM
        8    over whether the factual basis is ever proved up in some of

2:07:15PM
        9    these expert reports.       So I'm relying, in part, on you all.

2:07:22PM
       10                MR. EVEN:    And I appreciate that, Your Honor.      I'm

2:07:24PM
       11    just not sure what is the factual basis that we want now,

2:07:27PM
       12    other than Professor Athey's general assessment as a professor

2:07:31PM
       13    of technology and economics, as to the incentives and what

2:07:36PM
       14    consumers may or may not do facing these incentives.           That's

2:07:42PM
       15    clearly in the report, Your Honor.

2:07:45PM
       16                THE COURT:    Then if it is in the report, you're all

2:07:47PM
       17    good.

2:07:49PM
       18                MR. EVEN:    Okay.

2:07:53PM
       19                THE COURT:    And I should say and it's still subject

2:07:56PM
       20    to your ongoing negotiations about the factual basis.

2:08:03PM
       21                MR. EVEN:    I understand, Your Honor.     I just want to

2:08:06PM
       22    make sure that I understand the objection, because my

2:08:09PM
       23    understanding is that somebody who researches what consumers

2:08:12PM
       24    and technology firms do for a living can come into court and

2:08:16PM
       25    testify to that based on their expertise.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 39 of 1271782
                                    ATHEY - DIRECT / EVEN

2:08:20PM
        1                THE COURT:    They can testify as to what they have

2:08:21PM
        2    disclosed.

2:08:24PM
        3                MR. EVEN:    Absolutely, Your Honor.     I don't really

2:08:25PM
        4    think there is a disclosure issue here, but that's okay.            I

2:08:30PM
        5    appreciate that.        I'll move on.

2:08:33PM
        6    BY MR. EVEN:

2:08:34PM
        7    Q.   Professor Athey, do you have any examples -- let me take a

2:08:41PM
        8    step back.

2:08:41PM
        9         Obviously, we don't have a cross-platform app store right

2:08:47PM
       10    now, correct?

2:08:49PM
       11    A.   Yes, correct.

2:08:50PM
       12    Q.   And so have you seen any examples of a cross-platform

2:08:55PM
       13    store that sells something other than apps?

2:09:01PM
       14    A.   Yes.   So going back in history, when you used to watch

2:09:10PM
       15    movies and shows on the iPhone, you would purchase individual

2:09:14PM
       16    movies on iTunes, but you could watch those on -- in the iOS

2:09:20PM
       17    system.

2:09:20PM
       18         Today, there are services like Amazon Prime Video or

2:09:28PM
       19    Netflix.    Amazon Prime Video at the beginning offered the same

2:09:34PM
       20    kind of service to iTunes except you would buy movies or shows

2:09:40PM
       21    one at a time, but it was cross-platform and so people could

2:09:43PM
       22    buy on one device and move to another.         And that type of --

2:09:46PM
       23    that type of cross-platform experience is also -- is an

2:09:54PM
       24    example.

       PM
2:09:55PM
       25                                       x and Amazon Prime Video are
                  Now, that's allowed, so Netflix
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 40 of 1271783
                                    ATHEY - DIRECT / EVEN

2:09:59PM
        1    allowed, but other types are not.

2:10:06PM
        2    Q.   Okay.    Have you found any examples of cross-platform app

2:10:08PM
        3    stores that are outside of iOS?

2:10:13PM
        4    A.   I have.

2:10:14PM
        5    Q.   And can you give the Court an example or two?

2:10:17PM
        6    A.   Yes.

2:10:18PM
        7                THE WITNESS:   So next slide, please.

2:10:20PM
        8         So one example of a cross-platform app store is the Epic

2:10:29PM
        9    Games Store.     This is a store that's available on the Windows

2:10:33PM
       10    PC and the macOS.

2:10:36PM
       11    BY MR. EVEN:

2:10:37PM
       12    Q.   And can you speak to the cross-platform benefits provided

2:10:43PM
       13    to users and developers by the Epic Games Store.

2:10:47PM
       14    A.   Yes.    So the Epic Games Store builds the infrastructure I

2:10:54PM
       15    described earlier that makes it possible for developers to

2:11:00PM
       16    interact with their users through an account that would be

2:11:06PM
       17    available across all devices.

2:11:09PM
       18         So in the case of the Epic Games Store, the user has an

2:11:13PM
       19    account with the Epic Games Store that allows them to access

2:11:17PM
       20    their library of apps and have them easily available across

2:11:22PM
       21    any platform that they choose to use.

2:11:27PM
       22         Another service provided by the Epic Games Store is a

2:11:32PM
       23    cloud service that, again, makes it possible for developers to

2:11:36PM
       24    sync the users' data, app-related data, their purchases, what

2:11:44PM
       25    levels they are at, across platforms.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 41 of 1271784
                                    ATHEY - DIRECT / EVEN

2:11:46PM
        1         So if you went -- if you decided to switch from Windows PC

2:11:53PM
        2    to macOS, what you would do is you would just log in to the

2:12:00PM
        3    Epic Games Store and you could pick back up right where you

2:12:04PM
        4    left off.

2:12:06PM
        5         There would also be a wallet service.        So if you had

2:12:08PM
        6    entered your payment information when you had a PC, that would

2:12:14PM
        7    also be available on the macOS, so just pick right up where

2:12:20PM
        8    you left off.

2:12:20PM
        9    Q.   Got it.   Thank you.

2:12:21PM
       10         Now, you mentioned that the Epic Games Store is available

2:12:25PM
       11    on the macOS.

2:12:26PM
       12         How does the Epic Games Store compare, for instance, to

2:12:30PM
       13    the Mac Apple App Store that's on Mac?

2:12:34PM
       14    A.   It provides a similar set of services except that if you

2:12:39PM
       15    buy things through the macOS store, they are locked into the

2:12:43PM
       16    Apple ecosystem.     You can't use them across.

2:12:48PM
       17    Q.   You also -- do you have another example of cross-platform

2:12:54PM
       18    app store outside of iOS?

2:13:00PM
       19    A.   Yes.

2:13:00PM
       20                THE WITNESS:   So the next slide.

2:13:01PM
       21    BY MR. EVEN:

2:13:05PM
       22    Q.   So I see this is about Steam.       Where is Steam available?

2:13:09PM
       23    A.   Steam is available on the Windows PC, the macOS, as well

2:13:14PM
       24    as Linux PC.

2:13:17PM
       25    Q.   And what services does the Steam store provide to users
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 42 of 1271785
                                    ATHEY - DIRECT / EVEN

2:13:22PM
        1    and developers so that they can work and transact across

2:13:28PM
        2    platforms?

2:13:31PM
        3    A.   So it provides the infrastructure so that users and

2:13:35PM
        4    developers can interact in a similar way to what I just

2:13:38PM
        5    described.     It provides services for account management,

2:13:43PM
        6    allowing the user to access a library cloud and wallet.

2:13:49PM
        7         It also has an additional service, family sharing, where

2:13:55PM
        8    users can share apps and purchases across platforms within a

2:13:59PM
        9    family.     So if one kid has a Windows PC, the other has to

2:14:04PM
       10    switch to, you know, Apple to be compatible with school, they

2:14:08PM
       11    can -- you know, they can share their apps and purchases in

2:14:13PM
       12    that way.

2:14:14PM
       13    Q.   All right.    So let's switch gears for a second.        You

2:14:17PM
       14    mentioned also streaming services.        The Court has already

2:14:21PM
       15    heard testimony about streaming services some, but can you

2:14:26PM
       16    explain at a very high level, how would an app streaming

2:14:30PM
       17    service operate?

2:14:32PM
       18    A.   Yes.

2:14:32PM
       19                THE WITNESS:   Next slide, please.

2:14:33PM
       20         So this would feel a lot like a Netflix experience today

2:14:38PM
       21    from a user's perspective.       They would be able to access a

2:14:43PM
       22    wide variety of content.      They could easily switch between

2:14:49PM
       23    different types of content, try things out.

2:14:53PM
       24         And then, from the developer perspective, it's a very

2:14:58PM
       25    different experience than regular apps because the developer
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 43 of 1271786
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2:15:02PM
        1    is writing code that runs on servers in the cloud.

2:15:05PM
        2         So the developer's code is written to the cloud, and they

2:15:11PM
        3    don't -- just like a movie producer can make a movie and not

2:15:16PM
        4    worry about where people are going to watch the movie, a game

2:15:20PM
        5    developer could develop once and then that game would be

2:15:26PM
        6    available on, you know, any platform, and they wouldn't have

2:15:33PM
        7    to worry about, say, you know, porting to a new or smaller

2:15:37PM
        8    platform.

2:15:39PM
        9    Q.   Thank you.

2:15:42PM
       10         Are streaming services limited to games?

2:15:46PM
       11    A.   No.

2:15:47PM
       12    Q.   What other use cases could there be for app streaming

2:15:51PM
       13    services?

2:15:52PM
       14    A.   So these are nascent, I should say, and so they are coming

2:16:04PM
       15    into -- so they are coming into play as a result of costs and

2:16:06PM
       16    benefits.

2:16:07PM
       17         What we see with games today is that they struggle with

2:16:15PM
       18    some latency challenges.      There can be delays, so you need

2:16:20PM
       19    high bandwidth; but on the other hand, they can provide an

2:16:25PM
       20    immersive experience even on a device that is lower cost.

2:16:30PM
       21         So taking those economic characteristics, there can be

2:16:37PM
       22    many other applications that would also benefit from being

2:16:41PM
       23    able to allow an immersive experience to be available on

2:16:47PM
       24    lower-cost devices.

2:16:49PM
       25         A situation where you might want to -- need to reach a lot
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 44 of 1271787
                                    ATHEY - DIRECT / EVEN

2:16:54PM
        1    of people, say, on -- your cheap devices might be an

2:17:00PM
        2    educational or a training experience, where, you know, it's

2:17:05PM
        3    important that the student understand the physical

2:17:08PM
        4    environment.

2:17:08PM
        5         And so they want to have an immersive video experience

2:17:16PM
        6    that's interactive, but you want to reach low-wage workers or

2:17:22PM
        7    students with, you know, six-year-old hand-me-down phones.

2:17:28PM
        8    And so you want to provide that experience on a low-cost

2:17:28PM
        9    device.

2:17:31PM
       10         So the general themes that we've heard about in terms of

2:17:34PM
       11    games have analogs in other industries, but it's still very

2:17:39PM
       12    early days.

2:17:39PM
       13    Q.   So you mentioned now that it's nascent, that it's in early

2:17:59PM
       14    days.      Can app streaming services solve switching and mixing

2:18:03PM
       15    and matching costs today?

2:18:05PM
       16    A.   No.     They are not big enough.

2:17:41PM
       17         But, you know, the -- one of the big constraints has been

2:18:01PM
       18    bandwidth.      And so if you think about a longer time horizon,

2:18:05PM
       19    five to ten years, you know, we are trying to make a lot of

2:18:10PM
       20    investments now to get bandwidth out there and more available.

2:18:15PM
       21    The technology is improving.       And so some of the constraints

2:18:19PM
       22    that have held it back could -- are expected to alleviate.

2:18:23PM
       23         And so, you know, just like Netflix
                                                    x has transformed the

2:18:28PM
       24    way that content is produced and consumed in movies and shows,

       PM
2:18:34PM
       25    it could make a big difference.         And the bigger difference it
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 45 of 1271788
                                    ATHEY - DIRECT / EVEN

2:18:39PM
        1    makes, the bigger impact it would have on mobile competition.

2:18:45PM
        2    Q.   Thank you.

2:18:46PM
        3         Do iOS users currently have access to streaming

2:18:49PM
        4    platforms?

2:18:50PM
        5    A.   Not in the way they are intended, no.

2:18:54PM
        6    Q.   And what do you mean by "not in the way they are

2:18:59PM
        7    intended"?

2:18:59PM
        8    A.   Well, so some of the big benefits are that, you know, you

2:19:02PM
        9    can have one app, similar to the Netflix app, and have lots

2:19:09PM
       10    of -- access lots of different things seamlessly from a user

2:19:14PM
       11    perspective.

2:19:14PM
       12         But the Apple App Store restrictions require that in order

2:19:20PM
       13    to offer multiple streaming games, it's necessary to -- for

2:19:28PM
       14    the user to download a separate app.

2:19:31PM
       15         So even though the separate app wouldn't have any

2:19:35PM
       16    additional functionality, there would be an additional app for

2:19:38PM
       17    each game.

2:19:41PM
       18    Q.   What would a similar policy mean for something like

2:19:45PM
       19    Netflix, for instance?

2:19:47PM
       20    A.   That would mean that for every movie or show that I wanted

2:19:50PM
       21    to watch, I would need to download a separate app.           And if I

2:19:56PM
       22    wanted to switch between one movie and another, I would need

2:20:02PM
       23    to navigate to and switch to that separate app.

2:20:09PM
       24    Q.   Thank you.

2:20:09PM
       25         You talked earlier about entry and some of the barriers to
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 46 of 1271789
                                    ATHEY - DIRECT / EVEN

2:20:17PM
        1    entry and chicken and egg problem.

2:20:19PM
        2         How would app streaming platforms affect, potentially --

2:20:25PM
        3    if they come to -- become more mature, how could they affect

2:20:30PM
        4    entry in this space?

2:20:33PM
        5    A.   So remember, the chicken and egg problems arises because

2:20:37PM
        6    consumers don't want to use a device where there is not enough

2:20:42PM
        7    services.

2:20:43PM
        8         But -- so if a consumer can go to a new platform and have

2:20:50PM
        9    access to multiple services, that makes it easier to reap the

2:21:01PM
       10    benefits of a low-cost device.

2:21:03PM
       11         And so you could buy a low-cost device and then with a

2:21:08PM
       12    single app, you would be able to access this library of

2:21:14PM
       13    content, which would already be there because the developers

2:21:18PM
       14    wouldn't bear any porting costs.        So as long as the streaming

2:21:23PM
       15    service has got the streaming app on the new platform, just

2:21:27PM
       16    one app needs to port, then the consumer suddenly would have a

2:21:32PM
       17    library of content.

2:21:34PM
       18         So if you thought about getting a low-cost tablet for your

2:21:38PM
       19    child, imagine that it had, you know, Amazon Prime Video and a

2:21:45PM
       20    game-streaming app, you know, and a browser.          Well, you know,

2:21:51PM
       21    that might be good enough for your kid.         And so you could --

2:22:00PM
       22    it would be rational for people to buy a low-cost tablet like

2:22:05PM
       23    that for their child.

2:22:06PM
       24         The more people bought low-cost tablets for their kids or

       PM
2:22:11PM
       25    themselves, the more users there would be, and that could, in
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 47 of 1271790
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2:22:15PM
        1    turn, induce additional entry.

2:22:19PM
        2                THE COURT:   Do you still think we are in a chicken

2:22:21PM
        3    and egg environment?

2:22:24PM
        4                THE WITNESS:   Between iPhone and Android, absolutely

2:22:27PM
        5    not.    Most apps support it.     So -- but now we have two firms

2:22:31PM
        6    that have high profits, and so we're concerned about making it

2:22:38PM
        7    possible for a third firm to enter.

2:22:41PM
        8           And so for a third firm to enter, which is what you would

2:22:45PM
        9    expect, given high profits, the third firm would have to

2:22:48PM
       10    overcome the chicken and egg problem.         And for that, porting

2:22:53PM
       11    could be a substantial barrier.

2:22:55PM
       12           Now, for something like -- so Amazon has a tablet, the

2:23:00PM
       13    Amazon Fire tablet, that's a low-cost tablet.          It's a modified

2:23:06PM
       14    version of Android, and so there, the porting costs are

2:23:10PM
       15    relatively low.     They have their own app store, has a couple

2:23:15PM
       16    hundred thousand apps.

2:23:17PM
       17           So for that type of situation, you know, you've got some

2:23:21PM
       18    apps, you've got Amazon Prime Video, but you are missing some

2:23:25PM
       19    stuff too.    And so, you know, something like a streaming app

2:23:30PM
       20    that brought some really great games to it, you know, people

2:23:36PM
       21    are already buying it, you know, for some use cases, but it

2:23:39PM
       22    could expand the use cases.       So -- but this is really -- the

2:23:43PM
       23    porting is about entry.

2:23:46PM
       24           Did that answer the question?     Thank you.

      25
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 48 of 1271791
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2:23:52PM
        1    BY MR. EVEN:

2:23:52PM
        2    Q.   So switching to a separate topic, did you review any of

2:23:56PM
        3    the documents produced in this case?

2:24:00PM
        4    A.   Yes.

2:24:02PM
        5    Q.   And what was your process for reviewing these documents?

2:24:07PM
        6    A.   So I asked my research team to review nonconfidential

2:24:12PM
        7    documents and to identify documents that related to switching

2:24:18PM
        8    costs, mixing and matching costs, and the middleware, the

2:24:21PM
        9    themes -- and the other themes of my opinions.

2:24:26PM
       10    Q.   And why did you need to limit your review to

2:24:32PM
       11    nonconfidential documents?

2:24:35PM
       12    A.   Because years ago I was an employee of Microsoft, I

2:24:39PM
       13    understand that I am not allowed to review confidential

2:24:42PM
       14    information in this case.

2:24:47PM
       15    Q.   And did you identify any documents that you think bear on

2:24:50PM
       16    your opinions?

2:24:52PM
       17    A.   I did.

2:24:53PM
       18    Q.   Did you prepare a slide about one of those?

2:24:55PM
       19    A.   I did.

2:24:56PM
       20    Q.   Let's take a look at this slide.

2:24:59PM
       21         And can you explain why you think this email from Mr. Cue

2:25:05PM
       22    is relevant to what you have opined on in this case?

2:25:11PM
       23    A.   Yes.   So this is an email from Mr. Eddy Cue to Philip

2:25:18PM
       24    Schiller and Tim Cook, and the email is talking about

2:25:26PM
       25    switching costs related to apps.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 49 of 1271792
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2:25:28PM
        1          And so it articulates the precise logic that I was

2:25:36PM
        2    discussing, and it articulates that the considerations were

2:25:43PM
        3    important both quantitatively and qualitatively for strategic

2:25:49PM
        4    decisions as understood relative to the consumer behavior.

2:25:59PM
        5          And so the specific part of the quote here about consumers

2:26:06PM
        6    is:

2:26:06PM
        7               "Who is going to buy a Samsung phone if they have

2:26:11PM
        8               apps, movies, et cetera, already purchased?          They now

2:26:15PM
        9               need to spend hundreds more to get where they are

2:26:20PM
       10               today."

2:26:22PM
       11          So they are expressing that the magnitude of these costs

2:26:28PM
       12    are going to be important for consumer behavior and enough to

2:26:32PM
       13    influence strategy.

2:26:34PM
       14    Q.    So, as you said, this is an email, I think, from 2013.

2:26:39PM
       15          Do you think this email is still relevant today?

2:26:44PM
       16    A.    So the economics are spot on to what we are talking about,

2:26:50PM
       17    but there is a difference.

2:26:53PM
       18    Q.    What's the difference?

2:26:54PM
       19    A.    So here, he's referring to movies.       As I mentioned

2:26:58PM
       20    earlier, at that time, consumers who bought movies would be

2:27:04PM
       21    through iTunes, the -- part of the subject of this email,

2:27:10PM
       22    would be locked in to Apple.       So if they bought movies through

2:27:16PM
       23    iTunes, that would create switching costs for moving to

2:27:23PM
       24    Samsung.

2:27:23PM
       25          Today, consumers have access to competition from
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 50 of 1271793
                                    ATHEY - CROSS / DUNN

2:27:28PM
        1    cross-platform sources of movies and shows, and consumers have

2:27:35PM
        2    chosen those.    You know, the market share is large for

2:27:46PM
        3    cross-platform movies and shows.        So that part wouldn't be the

2:27:52PM
        4    main focus today, because consumers have cross-platform

2:27:57PM
        5    alternatives.

2:27:57PM
        6           But today, the logic would still apply to other types of

2:28:02PM
        7    apps where these types of cross-platform services are not

2:28:07PM
        8    available.     And so that would be the component today.

2:28:13PM
        9    Q.     Thank you very much, Professor Athey.

2:28:14PM
       10                MR. EVEN:    I will pass the witness.

2:28:18PM
       11                THE COURT:    Pass the witness?

2:28:24PM
       12           Ms. Dunn, cross.

2:28:37PM
       13                MS. DUNN:    With the Court's permission, we would like

2:28:39PM
       14    to hand the witness and the Court a binder.

2:28:43PM
       15                THE COURT:    Yes.

2:28:44PM
       16                MS. DUNN:    Thank you, Your Honor.

2:28:44PM
       17                THE COURT:    Whenever you are ready, you may proceed.

2:28:44PM
       18                MS. DUNN:    Thank you, Your Honor.

2:28:47PM
       19                               CROSS-EXAMINATION

2:28:47PM
       20    BY MS. DUNN:

2:29:35PM
       21    Q.     Good afternoon, Dr. Athey.    How are you?     It's good to see

2:29:39PM
       22    you.

2:29:40PM
       23    A.     Good afternoon.

2:29:40PM
       24    Q.     You submitted your expert report on February 16th of 2021;

2:29:44PM
       25    is that right?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 51 of 1271794
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2:29:44PM
        1    A.   That sounds right.

2:29:45PM
        2    Q.   And you were deposed on April 3rd of 2021, about a month

2:29:48PM
        3    ago and change?

2:29:50PM
        4    A.   Sounds right too.

2:29:52PM
        5    Q.   Okay.    And you testified on direct that after you

2:29:55PM
        6    submitted your report and after you were deposed, you reviewed

2:29:58PM
        7    some documents that had been dedesignated.

2:30:01PM
        8         And we will potentially talk about some of those, but I

2:30:05PM
        9    want to first talk about what you looked at when you were

2:30:09PM
       10    formulating your opinions and writing your report.           Okay?

2:30:12PM
       11    A.   Yes.

2:30:13PM
       12    Q.   All right.    Before your report and in developing your

2:30:14PM
       13    opinions, you did not review any of the Apple business

2:30:18PM
       14    documents produced by Apple in this litigation, correct?

2:30:22PM
       15    A.   Correct.

2:30:23PM
       16    Q.   And before your report, you also did not review any Epic

2:30:27PM
       17    documents produced in this case either, correct?

2:30:31PM
       18    A.   Correct.

2:30:32PM
       19    Q.   And --

2:30:33PM
       20    A.   I'm sorry.    So I reviewed David Evans' redacted report.

2:30:40PM
       21    Q.   Fair enough.

2:30:41PM
       22         So with that exception, you have not reviewed any Epic

2:30:44PM
       23    documents before your report.

2:30:45PM
       24    A.   Any -- I don't believe so.

2:30:59PM
       25    Q.   Okay.    And before your report, you also did not rely upon
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 52 of 1271795
                                    ATHEY - CROSS / DUNN

2:31:03PM
        1    any third-party documents produced in this case.          There are

2:31:06PM
        2    none in your "Materials Relied Upon," if that helps you.

2:31:10PM
        3    A.   Correct.

2:31:10PM
        4    Q.   Okay.    So the result was that you didn't review any

2:31:15PM
        5    contemporaneous Apple documents related to why the App Store

2:31:20PM
        6    was structured in the way it was when you formulated your

2:31:23PM
        7    opinions.

2:31:23PM
        8         That's fair, right?

2:31:25PM
        9    A.   I didn't review any confidential Apple documents about

2:31:28PM
       10    that, no.

2:31:29PM
       11    Q.   Right.    And so if there were confidential Apple documents

2:31:31PM
       12    that say how many people switched from Android to iOS or

2:31:34PM
       13    vice versa, you would not have seen those, correct?

2:31:38PM
       14    A.   At the time of my report, correct.

2:31:40PM
       15    Q.   Well, you would not have seen any surveys of consumers and

2:31:46PM
       16    how often they switch, if those were produced by Apple --

2:31:50PM
       17    A.   Correct.

2:31:50PM
       18    Q.   -- correct?

2:31:51PM
       19         And you also would not have seen any surveys or empirical

2:32:01PM
       20    data that show that actually switching costs -- switching --

2:32:03PM
       21    behavior of switching is significant, correct?

2:32:15PM
       22    A.   I have not seen -- I've not seen evidence of significant

2:32:19PM
       23    switching, no.

2:32:20PM
       24    Q.   Right.    And if that evidence existed and was produced by

2:32:23PM
       25    Apple, you would not have seen it, correct?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 53 of 1271796
                                    ATHEY - CROSS / DUNN

2:32:29PM
        1    A.   As I sit here now, documents such as that might have been

2:32:35PM
        2    alluded to in the redacted findings of fact or the direct

2:32:39PM
        3    testimony of Apple witnesses, for example.         So that would be a

2:32:43PM
        4    source of qualitative information, or summaries of documents

2:32:46PM
        5    like that.

2:32:47PM
        6    Q.   Right.    But in developing your opinions, you did not see

2:32:49PM
        7    any of that.

2:32:50PM
        8    A.   Correct.

2:32:51PM
        9    Q.   And so in this case, you agreed to give opinions about the

2:32:54PM
       10    procompetitive effects of eliminating Apple's restrictions

2:32:58PM
       11    without reviewing any Apple confidential business documents;

2:33:01PM
       12    is that correct?

2:33:02PM
       13    A.   Yes.

2:33:05PM
       14    Q.   Have you ever done that before, offered an opinion about

2:33:08PM
       15    the procompetitive, or lack thereof, effects of a defendant's

2:33:13PM
       16    conduct without reviewing any of their confidential documents?

2:33:19PM
       17    A.   Just to be clear, I make -- give advice and offer

2:33:25PM
       18    presentations, including to antitrust regulators or, you know,

2:33:31PM
       19    other -- other industry participants about market conduct,

2:33:40PM
       20    about expected industry structure --

2:33:45PM
       21    Q.   I'm asking if you've ever done this before under oath in a

2:33:49PM
       22    court.      Have you ever done that?

2:33:53PM
       23    A.   No.

2:33:55PM
       24    Q.   And by the time of your deposition on April 3rd of 2021,

2:33:57PM
       25    you also had not read any of the deposition transcripts in
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 54 of 1271797
                                    ATHEY - CROSS / DUNN

2:34:02PM
        1    this case; is that right?

2:34:03PM
        2    A.   Yes.

2:34:04PM
        3    Q.   And before your deposition, you had reviewed none of

2:34:08PM
        4    Apple's expert rebuttal reports, including the rebuttals to

2:34:11PM
        5    your own opinions, correct?

2:34:12PM
        6    A.   Correct.

2:34:13PM
        7    Q.   And you didn't submit your own rebuttal report in this

2:34:16PM
        8    case?

2:34:17PM
        9    A.   That's correct.

2:34:17PM
       10    Q.   All right.    Now, the reason you did not look at any of

2:34:20PM
       11    Apple's produced documents was because of your relationship

2:34:22PM
       12    with Microsoft, which is a competitor to Apple, correct?

2:34:29PM
       13    A.   My understanding, it's because I was, at one point, a W-2

2:34:34PM
       14    employee of Microsoft.

2:34:35PM
       15    Q.   Right.    Because of your relationship with Microsoft, that

2:34:38PM
       16    is why you did not look at Apple's confidential documents.

2:34:42PM
       17    A.   Yes.

2:34:42PM
       18    Q.   That's right.

2:34:43PM
       19         All right.    Did you see the evidence from Ms. Wright's

2:34:48PM
       20    testimony, the Microsoft 10-K, where Microsoft says they

2:34:52PM
       21    compete with Apple in gaming?       Did you see that testimony?

2:34:57PM
       22    A.   I didn't see that part of the testimony, no.

2:34:59PM
       23    Q.   Okay.    Did you see any of the testimony?       Or, I'm sorry,

2:35:02PM
       24    hear, where we can't see anything.        Did you hear any of that

2:35:06PM
       25    testimony?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 55 of 1271798
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2:35:07PM
        1    A.   I heard a bit about the description of streaming, but I

2:35:13PM
        2    haven't reviewed the entire testimony.

2:35:16PM
        3    Q.   And according to your C.V., which we can show you because

2:35:21PM
        4    it might make this easier, you were with Microsoft Research

2:35:24PM
        5    for ten years?

2:35:27PM
        6    A.   In varying capacities, yes.

2:35:29PM
        7    Q.   Right.    And you were a consultant with the Microsoft

2:35:33PM
        8    Corporation for nine years.

2:35:35PM
        9    A.   In varying capacities, yes.

2:35:40PM
       10    Q.   Right.    And it says -- here, it says you were a consultant

2:35:40PM
       11    to Microsoft Corporation from 2007 to 2016 and a consulting

2:35:44PM
       12    researcher with Microsoft Research from 2008 to 2018, correct?

2:35:53PM
       13    A.   Yes.

2:35:53PM
       14    Q.   Okay.    And ultimately became a chief consulting economist

2:35:56PM
       15    at Microsoft?

2:35:57PM
       16    A.   So "ultimately" implies a timeline, so the -- so I was

2:36:01PM
       17    consulting chief economist in an earlier period and then later

2:36:06PM
       18    had different kinds of relationships, like consulting

2:36:10PM
       19    researcher, in order to collaborate on academic papers with

2:36:15PM
       20    Microsoft researchers.

2:36:16PM
       21    Q.   Okay.    But one way or another, you have been working for

2:36:20PM
       22    Microsoft in some way since 2007, correct?

2:36:25PM
       23    A.   On and off.

2:36:26PM
       24    Q.   And since August of 2020, you have continued to consult

2:36:29PM
       25    for Microsoft; isn't that right?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 56 of 1271799
                                    ATHEY - CROSS / DUNN

2:36:34PM
        1    A.   Again, on and off, but...

2:36:37PM
        2    Q.   At your deposition, you said that since August of 2020,

2:36:41PM
        3    you've done economic consulting work for Microsoft.

2:36:45PM
        4         Is that true?

2:36:46PM
        5    A.   Yes, that's correct.

2:36:47PM
        6    Q.   Okay.    But that wasn't on the C.V. that you submitted to

2:36:50PM
        7    the -- with your report.

2:36:59PM
        8    A.   That is -- that is correct.       My -- not all of my

2:37:03PM
        9    consulting clients are disclosed.        Sometimes there's a NDA or

2:37:20PM
       10    there's not a public nature of the relationship --

2:37:22PM
       11                          (Simultaneous colloquy.)

2:37:22PM
       12    Q.   We just saw that you did disclose Microsoft, you just

2:37:28PM
       13    didn't disclose your work subsequent to 2018, correct?

2:37:33PM
       14    A.   I disclosed the time where I had a more extensive

2:37:37PM
       15    relationship, and now they are just another client, which I

2:37:42PM
       16    don't disclose all of my clients.

2:37:31PM
       17    Q.   Right.    But you disclosed this one, just not that time

2:37:34PM
       18    period; am I right about that?

2:37:37PM
       19    A.   I've disclosed here all the time periods where I've had an

2:37:42PM
       20    in-depth relationship with a company that went beyond an

2:37:49PM
       21    ordinary arms-length relationship that you might expect from

2:37:52PM
       22    someone who provides consulting services.

2:37:55PM
       23    Q.   So just to put a fine point on this, even though it was

2:37:58PM
       24    your relationship with Microsoft that prevented you from

2:38:00PM
       25    looking at Apple's confidential documents, you didn't think
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 57 of 1271800
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2:38:03PM
        1    you should disclose that on your C.V.; is that correct?

2:38:10PM
        2    A.   I don't have a separate C.V. for this case.         This is my

2:38:14PM
        3    C.V. in which I present my important relationships.           And so on

2:38:20PM
        4    this C.V., I'm reporting the relationship in a time at

2:38:27PM
        5    which -- and it's a little bit generous, really, where my

2:38:32PM
        6    relationship with Microsoft was not just project to project

2:38:35PM
        7    or, you know, at their disposal, but we had an understanding

2:38:40PM
        8    that I would, on an ongoing basis, be available for them for

2:38:45PM
        9    consulting and participate in strategic decisions.           That time

2:38:49PM
       10    actually really ended earlier than 2016, but it's being a bit

2:38:54PM
       11    generous in the interest of academic disclosure, where you

2:38:58PM
       12    want to make sure people understand your relationships.

2:39:03PM
       13    Q.   Yeah, okay, Dr. Athey.      I think I understand.      Thank you.

2:39:06PM
       14         So at your deposition, you also refused to answer whether

2:39:11PM
       15    you're currently doing work for Microsoft that may bear on the

2:39:14PM
       16    issues in this case.

2:39:16PM
       17         Do you remember that?

2:39:18PM
       18              THE COURT:     It goes to bias, Counsel.

2:39:20PM
       19         So I saw you stand before I -- and then I saw you move

2:39:25PM
       20    towards the microphone.      The objection, to the extent you

2:39:28PM
       21    wanted to make it, is overruled.        It goes to bias.

2:39:31PM
       22         Go ahead.

2:39:33PM
       23    BY MS. DUNN:

2:39:33PM
       24    Q.   You can answer.     Do you remember the question?

2:39:36PM
       25    A.   If I recall my answer in the deposition, it was that I had
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 58 of 1271801
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2:39:40PM
        1    a nondisclosure agreement with Microsoft and I hadn't sought

2:39:45PM
        2    their permission to disclose that, disclose the nature of my

2:39:51PM
        3    relationship in that.       So....

2:39:57PM
        4    Q.   Right.    And you recall you were instructed by Epic's

2:39:59PM
        5    counsel not to answer?       You recall that?

2:40:03PM
        6    A.   Yes.    My recollection is that they said that there was not

2:40:07PM
        7    a Microsoft attorney present to determine whether the

2:40:13PM
        8    information was confidential from Microsoft's perspective.

2:40:17PM
        9    Q.   Okay.    So today before the Court, do you still refuse to

2:40:21PM
       10    say whether your ongoing work for Microsoft bears on the

2:40:25PM
       11    issues in this case?

2:40:27PM
       12                THE WITNESS:    I'd feel more comfortable answering if

2:40:30PM
       13    we had a closed session, since I don't have permission about

2:40:34PM
       14    the NDA, Your Honor.

2:40:38PM
       15                THE COURT:    All right.   We can do it at the end of

2:40:40PM
       16    the day.

2:40:42PM
       17                MS. DUNN:    There has been -- there are documents that

2:40:45PM
       18    have been disclosed to us, and I don't believe that there is a

2:40:48PM
       19    sealing issue that we can potentially discuss.          She can -- we

2:40:52PM
       20    can hold the nature of her work if she feels more comfortable,

2:40:56PM
       21    but this is documents that have already been disclosed.

2:41:00PM
       22                THE COURT:    Okay.

2:41:00PM
       23    BY MS. DUNN:

2:41:02PM
       24    Q.   Dr. Athey, in October 2020 -- actually, I should -- I'll

2:41:07PM
       25    start differently.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 59 of 1271802
                                    ATHEY - CROSS / DUNN

2:41:12PM
        1         We have a document that was produced to us two weeks ago

2:41:15PM
        2    after we moved to compel.        Judge Hixson granted our motion,

2:41:20PM
        3    and this document was sent to us, along with a letter from

2:41:23PM
        4    Epic's counsel, saying that it had been redacted by Microsoft.

2:41:27PM
        5         And I'm just going to show you the first page of this

2:41:31PM
        6    document.     It's Exhibit 5603.

2:41:36PM
        7         Do you see the first page?

2:41:39PM
        8    A.   I'm sorry, I have two binders.        Where should I look here?

2:41:40PM
        9    Q.   That's right.       The small binder is your deposition and the

2:41:45PM
       10    larger binder has exhibits.

2:41:47PM
       11    A.   Great.   And, I'm sorry, which number?

2:41:52PM
       12    Q.   5603.

2:41:53PM
       13                MR. EVEN:    Sorry, what's the number?

2:41:53PM
       14                MS. DUNN:    5603.

2:41:53PM
       15                MR. EVEN:    Where is that?     Sorry.

2:42:07PM
       16                THE WITNESS:     I'm sorry, there may be a tab missing.

2:42:11PM
       17                THE COURT:    Yeah, that's not in the binder.

2:42:14PM
       18                MS. DUNN:    So I only plan to use the title page,

2:42:19PM
       19    which we can display because there is no information on it.

2:42:22PM
       20    BY MS. DUNN:

2:42:23PM
       21    Q.   All right.    Dr. Athey, this is a presentation that you

2:42:26PM
       22    gave dated October 22nd of 2020.          It's entitled "Apple App

2:42:33PM
       23    Store Restrictions and [Redacted] An Economic Perspective."

2:42:37PM
       24         Do you see that?

2:42:38PM
       25    A.   Yes.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 60 of 1271803
                                    ATHEY - CROSS / DUNN

2:42:38PM
        1    Q.   And these redactions, we were told by Epic's counsel, were

2:42:45PM
        2    applied by Microsoft.

2:42:47PM
        3         Have you seen this document in your files subsequent to

2:42:53PM
        4    its redaction by Microsoft?

2:43:01PM
        5    A.   Yes.

2:43:04PM
        6    Q.   And you do not deny that Microsoft has redacted out the

2:43:13PM
        7    word "Microsoft," correct?

2:43:18PM
        8                MR. EVEN:    Your Honor --

2:43:19PM
        9                THE WITNESS:    Honestly, I don't know what's under

2:43:20PM
       10    that [Redacted], so I don't think I should testify to what's

2:43:25PM
       11    there.

2:43:26PM
       12    BY MS. DUNN:

2:43:26PM
       13    Q.   Do you recall the presentation at all?

2:43:28PM
       14    A.   I do.

2:43:29PM
       15    Q.   Okay.   You recall that it talks about middleware?

2:43:32PM
       16                THE COURT:    What's the objection, Counsel?

2:43:34PM
       17                MR. EVEN:    Your Honor, I believe the order about

2:43:37PM
       18    producing this document required that the name of the client

2:43:43PM
       19    would be redacted.       I don't believe that we have disclosed the

2:43:47PM
       20    name of the client to Apple.

2:43:48PM
       21         I understand that counsel for Apple can do the math and

2:43:53PM
       22    understand who the client is, but as far as I recall, at

2:43:57PM
       23    least, I don't believe we disclosed it or the client disclosed

2:44:01PM
       24    it, and I don't see why this needs to be done in open court

2:44:05PM
       25    and disclose that.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 61 of 1271804
                                    ATHEY - CROSS / DUNN

2:44:06PM
        1                MS. DUNN:    Your Honor, we have a letter from Epic's

2:44:08PM
        2    counsel saying the redactions had been applied directly by

2:44:11PM
        3    Microsoft.

2:44:13PM
        4                MR. EVEN:    If I can see the letter, that would be

2:44:16PM
        5    helpful, but -- and I will confer with my --

2:44:18PM
        6                THE COURT:    Okay.   Well, I -- at this point, the

2:44:21PM
        7    cat's out of the bag.

2:44:23PM
        8                MR. EVEN:    I understand, Your Honor.

2:44:25PM
        9                THE COURT:    I don't know why they -- I don't know

2:44:26PM
       10    where that even came from, but -- that phrase, but it's out.

2:44:31PM
       11    The bell has rung.       I like that one better.

2:44:34PM
       12         Let's keep going.

2:44:35PM
       13    BY MS. DUNN:

2:44:35PM
       14    Q.   All right.    Dr. Athey, you recall this presentation,

2:44:37PM
       15    correct?

2:44:37PM
       16    A.   Yes.

2:44:38PM
       17    Q.   Great.

2:44:38PM
       18         And it is, in our version, heavily redacted, but you

2:44:43PM
       19    recall that it talks about middleware, correct?

2:44:45PM
       20    A.   Yes.

2:44:46PM
       21    Q.   And you recall that it also talks about gaming, correct?

2:44:48PM
       22    A.   Yes.

2:44:52PM
       23    Q.   And you're not going to deny that this presentation from

2:44:55PM
       24    Microsoft about Apple's App Store restrictions relates

2:44:59PM
       25    directly to the issues in this case, are you?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 62 of 1271805
                                    ATHEY - CROSS / DUNN

2:45:01PM
        1    A.   No.

2:45:02PM
        2    Q.   And this is from October 22nd of 2020.

2:45:05PM
        3         Was this before or after you were retained by Epic?

2:45:11PM
        4    A.   Before.

2:45:13PM
        5    Q.   All right.    Your testimony involves something that you are

2:45:15PM
        6    calling "middleware," and you said that that's short for

2:45:19PM
        7    "economic middleware."

2:45:25PM
        8    A.   So I -- in my report, I define -- there is a concept which

2:45:30PM
        9    I'm applying, and I use the term "economic middleware" and

2:45:34PM
       10    "middleware" interchangeably.

2:45:37PM
       11    Q.   You've never seen the term "economic middleware" used in

2:45:43PM
       12    any economic literature, correct?

2:45:45PM
       13    A.   I've seen -- the concept is described, as I testified

2:45:49PM
       14    earlier.    The specific term, no.

2:45:51PM
       15    Q.   Right.    And you told us in your deposition that you came

2:45:54PM
       16    up with the definition of "economic middleware" for this case.

2:45:58PM
       17         Do you remember that?

2:46:06PM
       18    A.   So I need to see the exact words to make sure you're

2:46:10PM
       19    quoting -- you're characterizing them correctly.

2:46:12PM
       20         What I -- I'm sorry.

2:46:15PM
       21               MS. DUNN:   I'm happy to direct you --

2:46:18PM
       22               THE WITNESS:    Sure.

2:46:18PM
       23               MS. DUNN:   -- if Your Honor will permit, to

2:46:18PM
       24    Dr. Athey's deposition.      It's page 126, 7 through 15.

      25
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 63 of 1271806
                                    ATHEY - CROSS / DUNN

2:46:51PM
        1    BY MS. DUNN:

2:46:52PM
        2    Q.   Dr. Athey, do you see that?

2:46:59PM
        3    A.   I'm sorry, which line were you referring to?

2:47:01PM
        4    Q.   Lines 7 through 15.

2:47:03PM
        5              MS. DUNN:    Your Honor, am I permitted to read it?

2:47:07PM
        6              THE COURT:     Well, not quite yet.

2:47:08PM
        7              MS. DUNN:    Once she gets there.

2:47:09PM
        8              THE WITNESS:     I got it.

2:47:12PM
        9              THE COURT:     Does that refresh your recollection that

2:47:14PM
       10    you said -- that you agreed with that characterization?

2:47:24PM
       11              THE WITNESS:     I'm sorry, I'm still not seeing the

2:47:26PM
       12    quote, and I would, with thought, characterize it slightly

2:47:30PM
       13    differently.      But that's -- so --

2:47:34PM
       14    BY MS. DUNN:

2:47:35PM
       15    Q.   I'm talking about the part where you say -- the question

2:47:37PM
       16    was asked to you:      "This is a definition you came up with in

2:47:41PM
       17    connection with carrying out your analysis in this case?"

2:47:44PM
       18              And you say:     "Yes."

2:47:49PM
       19    A.   So I used a precise definition in my report to avoid any

2:47:54PM
       20    ambiguity about what I might mean.

2:47:56PM
       21    Q.   Okay.

2:47:56PM
       22    A.   And that was for this case, yes.

2:47:56PM
       23    Q.   We can move on.

2:48:01PM
       24         All right.    It is your opinion, Dr. Athey, that Apple

2:48:02PM
       25    imposes a set of technical and contractual restrictions that
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 64 of 1271807
                                    ATHEY - CROSS / DUNN

2:48:07PM
        1    block the emergence of middleware, correct?

2:48:10PM
        2    A.   Yes.

2:48:11PM
        3    Q.   And those restrictions block third-party app stores on

2:48:16PM
        4    iOS, correct?

2:48:17PM
        5    A.   Yes.

2:48:18PM
        6    Q.   And those restrictions also block third-party payment

2:48:22PM
        7    systems for in-app purchases of digital goods and services,

2:48:25PM
        8    correct?

2:48:29PM
        9    A.   Yes.

2:48:29PM
       10    Q.   And your opinion is that both the technical and

2:48:31PM
       11    contractual restrictions independently block the emergence of

2:48:35PM
       12    middleware, correct?

2:48:41PM
       13    A.   Independently and reinforcing one another in the sense

2:48:44PM
       14    that, you know, a contractual restriction can be enforced

2:48:49PM
       15    through technical means that prevent access to something, for

2:48:53PM
       16    example.

2:48:54PM
       17    Q.   Okay.   And so if Apple were to get rid of the contractual

2:48:58PM
       18    restrictions but continue the technical restrictions, that

2:49:01PM
       19    would not be sufficient for Epic.        Apple needs to eliminate

2:49:05PM
       20    both sets of restrictions, correct?

2:49:09PM
       21    A.   Eliminating some contractual restrictions don't really

2:49:15PM
       22    relate to -- directly to technical restrictions.

2:49:19PM
       23         But other contractual restrictions may be encoded, as I

2:49:27PM
       24    testified, in something, for example, like a database of, you

2:49:31PM
       25    know, who has access or who has permission to do certain
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2:49:36PM
        1    actions.

2:49:36PM
        2    Q.   The question is really just Apple would need to get rid of

2:49:41PM
        3    both kinds, and that's what Epic is asking for in this case.

2:49:45PM
        4    A.   Well --

2:49:45PM
        5    Q.   If you don't agree, just say you don't agree.          But if you

2:49:50PM
        6    do agree, you can say that.       We're on the clock.

2:49:55PM
        7    A.   It would be beneficial to competition to eliminate

2:49:58PM
        8    contractual -- some contractual restrictions on their own, and

2:50:02PM
        9    it would be additionally beneficial to eliminate further

2:50:06PM
       10    technical restrictions.

2:50:07PM
       11    Q.   Okay.   And it's your opinion that the technical design of

2:50:11PM
       12    iOS makes it impossible for multiplatform app stores to

2:50:15PM
       13    operate on iOS, correct?

2:50:17PM
       14    A.   If I understood your question correctly, then no.

2:50:31PM
       15    Q.   So you say in your written direct testimony, "Apple makes

2:50:34PM
       16    it impossible for multiplatform app stores to operate on

2:50:38PM
       17    iOS."

2:50:39PM
       18         And so it's your testimony that Apple's technical design

2:50:42PM
       19    has nothing to do with that?

2:50:45PM
       20    A.   I didn't -- I don't believe that that's what I said.

2:50:47PM
       21    Q.   Okay.   "Apple's technical design makes it impossible for

2:50:51PM
       22    multiplatform app stores to operate on iOS."

2:50:56PM
       23         Agree or disagree?

2:51:01PM
       24    A.   So the second question was does the technical design have

2:51:06PM
       25    anything to do with it, to which the answer is yes, it can.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 66 of 1271809
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2:51:11PM
        1         If the question is does its technical design prevent that,

2:51:23PM
        2    I guess, you know, I didn't -- I didn't -- I didn't provide a

2:51:33PM
        3    full analysis of the code, but I did point out that there are

2:51:40PM
        4    provisions on the iOS today that allow, say, developers or

2:51:47PM
        5    businesses or educational institutions to release apps in the

2:51:54PM
        6    iOS environment.     And so that's -- if the question is is it

2:51:59PM
        7    possible --

2:51:59PM
        8    Q.   Dr. Athey --

2:52:00PM
        9                          (Simultaneous Colloquy.)

2:52:01PM
       10    Q.   -- answer my question, and then your counsel can use his

2:52:05PM
       11    time for greater explanation.       Okay?

2:52:07PM
       12         So my question is, due to -- we'll make it more general --

2:52:12PM
       13    due to aspects of the technical design of iOS, Apple does not

2:52:17PM
       14    deal with third-party app stores on iOS, correct?

2:52:20PM
       15    A.   I guess it depends on how you characterize a third-party

2:52:29PM
       16    app store.

2:52:30PM
       17    Q.   Well, why don't we characterize it how you have all the

2:52:32PM
       18    way through your report and your written direct testimony.

2:52:35PM
       19    A.   Sure.    So a cross-platform app store of the type that I

2:52:38PM
       20    described in my report is generally prohibited by Apple.            Game

2:52:46PM
       21    subscription services under some conditions are able to

2:52:50PM
       22    operate.     Netflix is able to operate.

2:52:56PM
       23         So there's -- I described the cross-platform app store not

2:53:02PM
       24    as a single thing that must have every characteristic of

2:53:09PM
       25    middleware, but, rather, that cross-platform app stores, as a
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 67 of 1271810
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2:53:13PM
        1    phenomenon, can offer different aspects of middleware.

2:53:20PM
        2         But a general cross-platform app store is prohibited by

2:53:25PM
        3    Apple's conditions unless there is some kind of carve-out as

2:53:28PM
        4    we described.

2:53:28PM
        5    Q.   Okay.   And not just Apple's conditions, but Apple's

2:53:33PM
        6    technical design, correct?

2:53:39PM
        7    A.   The word, I guess, "design" -- by "design," do you mean

2:53:41PM
        8    the -- you know, the high-level design, as in there's this

2:53:47PM
        9    piece over here and this piece over there, or do you mean

2:53:49PM
       10    would any line of code need to change?         The answer depends on

2:53:53PM
       11    how -- what you mean, "design."

2:53:56PM
       12    Q.   Dr. Athey, have you reviewed Epic's proposed injunction in

2:54:00PM
       13    this case?

2:54:02PM
       14    A.   At a high level.

2:54:03PM
       15    Q.   Have you reviewed it?

2:54:04PM
       16    A.   Um --

2:54:05PM
       17    Q.   Have you read the injunction?

2:54:09PM
       18    A.   I've -- I reviewed it.      I may have paid more attention to

2:54:12PM
       19    some parts than others, and so I'm not -- I don't have it

2:54:16PM
       20    memorized for sure.

2:54:17PM
       21    Q.   I'm just asking a "yes" or "no" question.

2:54:17PM
       22         Have you read the injunction yourself, you've read it?

2:54:26PM
       23    A.   I've -- I've looked at it.      I haven't -- "read" as in,

2:54:31PM
       24    like, am I ready to testify about different components of it?

2:54:35PM
       25    Q.   No, "read" as in "read."      Surely this is a "yes" or "no"
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 68 of 1271811
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2:54:37PM
        1    question.    You've either read the injunction or you have not

2:54:40PM
        2    read the injunction.

2:54:42PM
        3    A.   Parts of it.

2:54:43PM
        4    Q.   Okay.   All right.    Dr. Athey, from your background in

2:54:46PM
        5    antitrust economics, it is your view that a refusal to deal is

2:54:49PM
        6    a form of exclusionary conduct, correct?

2:55:00PM
        7    A.   Yes.

2:55:02PM
        8    Q.   All right.    And you understand that Apple has many APIs,

2:55:06PM
        9    correct?

2:55:08PM
       10    A.   Yes.

2:55:08PM
       11    Q.   And you understand that it's not possible to put an app

2:55:11PM
       12    onto the iOS platform without using Apple's tools and APIs,

2:55:15PM
       13    correct?

2:55:16PM
       14    A.   Yes.

2:55:20PM
       15    Q.   All right.    And you understand that your economic

2:55:22PM
       16    middleware would need to connect to iOS through APIs and,

2:55:26PM
       17    therefore, have to use Apple's IP, correct?

2:55:34PM
       18    A.   To the extent that -- to the extent that you characterize

2:55:37PM
       19    the APIs as IP, yes.

2:55:40PM
       20    Q.   Do you think APIs are not IP?

2:55:44PM
       21    A.   I'm not offering a legal opinion about whether they are or

2:55:47PM
       22    they're not.      I'm just answering the question.      So I'm not --

2:55:49PM
       23    I want to avoid testifying on a legal matter.

2:55:52PM
       24         So if we said that APIs are required to connect, we

2:55:59PM
       25    could -- I mean, do you mean a patent?         Do you mean trade
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 69 of 1271812
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2:56:03PM
        1    secrets?     Do you mean -- you know, there's -- so I just want

2:56:06PM
        2    to make sure I'm being clear.       Sorry.

2:56:08PM
        3    Q.   Okay.    But you understand that your economic middleware

2:56:11PM
        4    would need to connect to iOS through Apple's APIs, and to the

2:56:16PM
        5    extent APIs are intellectual property, you would agree with

2:56:19PM
        6    that, correct?

2:56:21PM
        7    A.   Yes.

2:56:21PM
        8    Q.   All right.    And you understand that Apple would need to

2:56:23PM
        9    license its IP to multiplatform app stores as a remedy in this

2:56:28PM
       10    case.

2:56:35PM
       11    A.   Yes.

2:56:37PM
       12    Q.   And here is a question:      In your but-for world, are you

2:56:43PM
       13    saying that Apple can or cannot sue for patent infringement

2:56:47PM
       14    third-party app stores that come on to iOS?

2:56:52PM
       15                MR. EVEN:   Objection, Your Honor.

2:56:52PM
       16                THE WITNESS:   I'm sorry, I -- whether or not somebody

2:56:55PM
       17    can sue is not -- is not -- is not my expertise.

2:57:00PM
       18    BY MS. DUNN:

2:57:01PM
       19    Q.   Right.    I'm just -- Doctor, what I'm trying to get at is

2:57:04PM
       20    you're imagining a world in which Apple needs to license its

2:57:10PM
       21    IP to third parties.

2:57:11PM
       22         And what I want to understand is in your world that you

2:57:16PM
       23    posit, that you described, what's the plan?          Is Apple going to

2:57:20PM
       24    be able to -- is the answer that they should just sue

2:57:22PM
       25    everybody that comes onto the platform for patent
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 70 of 1271813
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2:57:26PM
        1    infringement?     Have you thought about that?

2:57:31PM
        2    A.   I don't -- I'm fairly certain I didn't propose that Apple

2:57:35PM
        3    sue everyone on the platform, no.

2:57:38PM
        4    Q.   That's not something you thought about?

2:57:50PM
        5    A.   If you're asking whether I thought about how it can work

2:57:53PM
        6    to have a platform with apps on it.        Windows and Mac are --

2:57:59PM
        7    Q.   I'm --

2:58:00PM
        8    A.   I'm sorry.    You asked if I had thought about it --

2:58:04PM
        9    Q.   I'm sorry.    I --

2:58:04PM
       10    A.   -- and so -- you just want a yes, that I thought about it.

2:58:07PM
       11    Q.   Yes.

2:58:08PM
       12    A.   Okay.    Sorry.   Yes, I thought about it.

2:58:09PM
       13    Q.   All right.    So in your direct testimony, you discussed

2:58:12PM
       14    quite a lot about app-related switching costs, including the

2:58:13PM
       15    cost of repurchasing apps and in-app purchases.

2:58:19PM
       16         Do you remember that?

2:58:20PM
       17    A.   Yes.

2:58:20PM
       18    Q.   And your opinions about anticompetitive effects relate to

2:58:24PM
       19    switchings costs at a high level, directly or indirectly,

2:58:27PM
       20    correct?

2:58:29PM
       21    A.   Yes.

2:58:30PM
       22    Q.   And you're aware, aren't you, that there is an extensive

2:58:34PM
       23    body of economic literature around switching costs?

2:58:37PM
       24    A.   Yes.

2:58:38PM
       25    Q.   And you cited no academic literature directly focused on
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 71 of 1271814
                                    ATHEY - CROSS / DUNN

2:58:44PM
        1    switching costs in your testimony, correct?

2:58:46PM
        2    A.   That's correct.

2:58:46PM
        3    Q.   Okay.    And actually, in your report, you relied on only

2:58:49PM
        4    three academic sources.      One is an article about Android in

2:58:54PM
        5    competition in the European Competition Journal; second is an

2:58:59PM
        6    article about online streaming and music consumption; the

2:59:04PM
        7    third is an article that you wrote with others about Apple

2:59:07PM
        8    Pay; and the fourth, generously construed as an academic

2:59:11PM
        9    source, is Walter Isaacson's Steve Jobs biography.

2:59:16PM
       10         That's -- those are the academic sources that you list in

2:59:20PM
       11    your report?

2:59:21PM
       12    A.   That sounds right.

2:59:22PM
       13    Q.   Okay.    And you don't quantify yourself the time costs and

2:59:25PM
       14    other costs of identifying and installing apps on a new mobile

2:59:28PM
       15    operating system platform, correct?

2:59:31PM
       16    A.   I presented facts relevant to that, but I didn't come with

2:59:39PM
       17    a bottom-line number.

2:59:42PM
       18    Q.   I mean, we discussed this in your deposition.          You didn't

2:59:44PM
       19    quantify it, correct?

2:59:46PM
       20    A.   Correct.

2:59:47PM
       21    Q.   Right.

2:59:47PM
       22         And you don't have surveys or empirical data that say

2:59:52PM
       23    switching costs outweigh porting costs, correct?

3:00:03PM
       24    A.   I'm sorry, switching -- you're asking me about switching

3:00:07PM
       25    costs outweigh porting costs?       I just want to make sure I
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 72 of 1271815
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3:00:11PM
        1    understood the question.

3:00:11PM
        2    Q.   Sure.    On your direct exam, you talked about switching

3:00:14PM
        3    costs and porting costs, and I'm just asking you whether -- my

3:00:17PM
        4    understanding is you've offered no empirical data that say

3:00:21PM
        5    that the costs of switching outweigh the cost of porting or

3:00:26PM
        6    trying to form any relationship between these two things.

3:00:33PM
        7    A.   Well, they both independently operate to support -- to

3:00:37PM
        8    support market power in mobile platform competition, so....

3:00:44PM
        9    Q.   I'm just asking if you quantified either.

3:00:46PM
       10    A.   No.

3:00:46PM
       11    Q.   Okay.    You also did not quantify the amount of time it

3:00:51PM
       12    takes to switch from an iPhone or an Android or the dollar

3:00:54PM
       13    estimate for switching between an iPhone and Android, correct?

3:01:00PM
       14    A.   So I -- to be -- make sure I'm answering fully, the email

3:01:06PM
       15    that I proposed had a specific dollar value proposed by Apple

3:01:13PM
       16    executives, but in my report, I did not do that

3:01:16PM
       17    quantification.

3:01:17PM
       18         Is that -- was that the question?

3:01:18PM
       19    Q.   You're talking about the email you showed us from 2013?

3:01:22PM
       20    A.   Which --

3:01:22PM
       21    Q.   Right.

3:01:22PM
       22    A.   So I -- were you asking me about my report or my

3:01:25PM
       23    testimony?      I'm sorry.

3:01:26PM
       24    Q.   I'm asking whether you did anything to quantify a dollar

3:01:30PM
       25    estimate for any amount of time it takes to switch between
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 73 of 1271816
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3:01:32PM
        1    iPhone and Android.      Did you do any of that work?

3:01:36PM
        2    A.   No.

3:01:37PM
        3    Q.   Thank you.

3:01:37PM
        4         You also did not calculate the average amount of app

3:01:42PM
        5    purchases that must be repurchased in moving to a new system,

3:01:47PM
        6    correct?

3:01:47PM
        7    A.   I did not calculate that average, no.

3:01:50PM
        8    Q.   And you said on direct to the Court that the average user

3:01:56PM
        9    has a hundred apps, but the number of apps that users actually

3:02:01PM
       10    use is far lower than that, somewhere in the 30s, correct?

3:02:07PM
       11    And that comes from the same source material where you got the

3:02:10PM
       12    number 100.

3:02:11PM
       13         Are you aware of that?

3:02:14PM
       14    A.   Yeah, that sounds about right --

3:02:16PM
       15    Q.   Okay.

3:02:16PM
       16    A.   -- although the -- that -- that statement by itself is not

3:02:21PM
       17    fully precise because you have to define what it means to use

3:02:25PM
       18    regularly and so on.      But I'm not disputing the

3:02:31PM
       19    characterizations you have given there.

3:02:33PM
       20    Q.   Right.   And you're aware that many apps are free to

3:02:36PM
       21    download, correct?

3:02:37PM
       22    A.   Yes, right.

3:02:37PM
       23    Q.   And you said on direct that many apps are available on

3:02:41PM
       24    both platforms, correct?

3:02:47PM
       25    A.   Yes.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 74 of 1271817
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3:02:49PM
        1    Q.   Okay.   Okay.   Let me -- if you would turn in your binder,

3:03:01PM
        2    Dr. Athey, to Exhibit 5612.       And this is an article that you

3:03:16PM
        3    cite in your report in support of your opinions about

3:03:18PM
        4    switching.

3:03:19PM
        5         You say at paragraph 86 in your report that the user has

3:03:28PM
        6    to manually search for her apps, reinstall them, and

3:03:32PM
        7    repurchase those that change -- I'm sorry, charge an upfront

3:03:35PM
        8    price, and then this is the article that's footnoted to that.

3:03:39PM
        9         If you look under "Apps" in this article, there's an -- on

3:03:48PM
       10    page 7, it says under "Apps":       "The bad news:     Any apps you've

3:03:58PM
       11    installed on your iPhone won't automatically transfer over to

3:04:02PM
       12    Android and any apps you paid for on iOS will likely have to

3:04:07PM
       13    be purchased again."

3:04:08PM
       14         Do you see that?

3:04:09PM
       15    A.   Yes.

3:04:09PM
       16    Q.   All right.    So that's what you cite in your testimony --

3:04:12PM
       17    your report, I'm sorry.

3:04:14PM
       18         And then the next paragraph offers some good news.          It

3:04:18PM
       19    says:   "These days, most major productivity apps are readily

3:04:21PM
       20    available on both platforms, and once you're all set up with

3:04:26PM
       21    Android, all of your apps and app data will automatically sync

3:04:29PM
       22    with Google servers and follow you to any future Android

3:04:34PM
       23    devices."

3:04:34PM
       24         Do you see that?

3:04:36PM
       25    A.   Yes.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 75 of 1271818
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3:04:36PM
        1    Q.   Right.    So the report cites the bad news and leaves out

3:04:40PM
        2    the good news, but I know that you are aware that there are

3:04:42PM
        3    tools for switching.

3:04:44PM
        4         You are aware of that?      "Yes" or "no"?

3:04:47PM
        5    A.   Yes.

3:04:49PM
        6    Q.   Okay.    So if you look, then -- actually, this may require

3:04:55PM
        7    switching binders, so I will read it to you.          Paragraph 46 of

3:04:57PM
        8    your report says:

3:04:59PM
        9                "Users will need to check to see if their other

3:05:03PM
       10                existing apps are available on the new platform.         For

3:05:07PM
       11                example, developers frequently launch new apps on

3:05:12PM
       12                iOS before Android due to the higher spending on

3:05:14PM
       13                apps and in-app purchases by iOS users."

3:05:18PM
       14         Do you see that?

3:05:19PM
       15    A.   I'm not looking at it now, but I believe --

3:05:22PM
       16    Q.   I apologize.    That's --

3:05:22PM
       17    A.   That's fine.

3:05:22PM
       18    Q.   -- paragraph 46 of your report.

3:05:24PM
       19         All right.    So in support of the statement that

3:05:27PM
       20    "developers frequently launch new apps on iOS before Android

3:05:30PM
       21    due to higher spending on apps and in-app purchases," you cite

3:05:36PM
       22    an article from The Guardian, and that's Footnote 15.

3:05:38PM
       23         And so we can show that to you, as well.         That is

3:05:44PM
       24    Exhibit 5605 in your exhibit binder.        And if you turn to

3:05:57PM
       25    page 3, there's a heading that says "Developer Concerns About
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 76 of 1271819
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3:06:01PM
        1    Profits and Piracy."

3:06:04PM
        2         And if you look at the paragraph in the middle of the

3:06:06PM
        3    screen here, it says:      "It tends to be a two-prong thing.

3:06:11PM
        4    First, the perception that Android users are less likely to

3:06:15PM
        5    spend money on or in apps; and, second, the belief that paid

3:06:18PM
        6    apps in particular suffer from crippling levels of piracy on

3:06:25PM
        7    Android."

3:06:25PM
        8         Then it goes on to say:      "Is this fair?     Piracy on Android

3:06:29PM
        9    is a fact.    Developers of paid apps who keep a close eye on

3:06:34PM
       10    their analytics often notice lots more people using them than

3:06:38PM
       11    have actually bought them on a store like Google Play.           Games

3:06:43PM
       12    suffer in particular from this."

3:06:45PM
       13         So in your report, Dr. Athey, you talk about the first

3:06:48PM
       14    prong, but you leave out the second prong even though it

3:06:50PM
       15    appears in the same sentence, the part about crippling piracy

3:06:51PM
       16    on Android.

3:06:53PM
       17         Was there a particular reason for that, that you omitted

3:06:56PM
       18    the part about the crippling levels of piracy on Android?

3:07:21PM
       19    A.   Sorry.   Just rereading that.

3:07:22PM
       20         The -- in my report, I'm talking about, at that point, the

3:07:43PM
       21    users' choices and the frictions that the user faces when

3:07:50PM
       22    moving between the two systems, as well as the -- between

3:07:55PM
       23    iPhone and Android, as well as the costs that they may incur

3:08:01PM
       24    and whether or not the apps would be there.

3:08:04PM
       25    Q.   All right.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 77 of 1271820
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3:08:05PM
        1    A.   So the piracy on Android is not directly relevant to

3:08:09PM
        2    that -- to that point.

3:08:11PM
        3    Q.   All right.    Let me read you the sentence from your report.

3:08:13PM
        4              "Developers frequently launch new apps on iOS

3:08:17PM
        5              before Android due to higher spending on apps and

3:08:20PM
        6              in-app purchases by iOS users."

3:08:23PM
        7         You say that to explain why users need to check whether

3:08:26PM
        8    those apps are available.       So in your report, you're

3:08:30PM
        9    explaining why developers launch new apps on iOS before

3:08:35PM
       10    Android, and you say that that's due to higher spending on

3:08:37PM
       11    apps and in-app purchases.

3:08:43PM
       12         So you've taken this sentence.       You've used half of it,

3:08:46PM
       13    you've left out the other half --

3:08:48PM
       14    A.   So --

3:08:48PM
       15    Q.   -- in support of the same point.       And I'm just asking you

3:08:53PM
       16    if you realize that you did that.

3:08:57PM
       17    A.   So the first -- this article confirms a fact of which I am

3:09:03PM
       18    aware across, you know, many years of experience.           The fact

3:09:08PM
       19    that iPhone users spend more than Android users is relevant

3:09:15PM
       20    for understanding, you know, search engines and how they

3:09:20PM
       21    monetize, it's important for understanding, you know, the

3:09:25PM
       22    importance of developing -- spending more money on development

3:09:29PM
       23    of an iPhone app than an Android app, and it's been important

3:09:34PM
       24    for understanding the evolution of this industry from the

3:09:38PM
       25    beginning.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 78 of 1271821
                                    ATHEY - CROSS / DUNN

3:09:38PM
        1         So I've been following this industry, you know, since the

3:09:41PM
        2    launch of the phones --

3:09:43PM
        3    Q.   Right.    That's --

3:09:43PM
        4    A.   -- and so just -- you asked me why, so I'm trying to

3:09:48PM
        5    explain why -- because this fact that iPhone users spend more

3:09:54PM
        6    is a kind of established fact that comes up over and over

3:09:57PM
        7    across different settings.

3:10:02PM
        8    Q.   So --

3:10:02PM
        9    A.   So that's -- so piracy is something that, you know,

3:10:06PM
       10    there's an assertion here, but it's not the primary thing that

3:10:12PM
       11    would necessarily set the expectations of industry

3:10:16PM
       12    participants --

3:10:17PM
       13    Q.   Right.

3:10:18PM
       14    A.   -- in my opinion.

3:10:20PM
       15    Q.   In your opinion.

3:10:20PM
       16         And so in your opinion, security, piracy, privacy, those

3:10:25PM
       17    issues, were not relevant, but this other -- the first half of

3:10:32PM
       18    this paragraph was.

3:10:35PM
       19    A.   I don't think that's what I said.

3:10:36PM
       20    Q.   Okay.    So the word "security," Dr. Athey, does not appear

3:10:42PM
       21    at all in your written direct testimony; that's correct?

3:10:46PM
       22    A.   I'll take your word for it.

3:10:48PM
       23    Q.   Right.    And you didn't mention it in your testimony today,

3:10:54PM
       24    and even though you've written about privacy yourself, how

3:11:03PM
       25    important that is, that also doesn't appear in your testimony,
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 79 of 1271822
                                    ATHEY - CROSS / DUNN

3:11:06PM
        1    correct?

3:11:11PM
        2    A.   I don't believe so, no.

3:11:13PM
        3    Q.   Right.    And the point of showing you this article is that

3:11:16PM
        4    you focused on certain things but not others, even though in

3:11:20PM
        5    the industry, security and privacy, which you do not mention,

3:11:24PM
        6    are very important.

3:11:25PM
        7         Do you disagree with that?

3:11:34PM
        8    A.   I don't think that's a completely fair characterization,

3:11:37PM
        9    because the reason that we're here to talk about competition,

3:11:42PM
       10    the reason competition is important is that we need

3:11:49PM
       11    competitive pressures to ensure that firms innovate and

3:11:53PM
       12    provide features that people want.        Whether or not they have

3:11:58PM
       13    in the past, we want to make sure that they continue to

3:12:01PM
       14    innovate.     And so I gave --

3:12:04PM
       15    Q.   And so do you --

3:12:05PM
       16    A.   -- I gave an opinion about this, which I said in my

3:12:09PM
       17    testimony --

3:12:10PM
       18    Q.   Dr. Athey, thanks.

3:12:10PM
       19    A.   Okay.

3:12:10PM
       20    Q.   Are you aware, then, that with regard to the competition

3:12:14PM
       21    analysis in this case, security and privacy are two of Apple's

3:12:19PM
       22    asserted procompetitive justifications for the restrictions

3:12:23PM
       23    that you discuss?     Are you aware of that?

3:12:26PM
       24    A.   Yes.

3:12:26PM
       25    Q.   Okay.    And did you hear Mr. Sweeney's testimony?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 80 of 1271823
                                    ATHEY - CROSS / DUNN

3:12:31PM
        1    A.   No.

3:12:31PM
        2    Q.   Okay.    So you may not be aware that even he has said that

3:12:35PM
        3    privacy and security are competitive differentiators for

3:12:38PM
        4    Apple.

3:12:40PM
        5    A.   That sounds --

3:12:41PM
        6    Q.   Were you aware --

3:12:41PM
        7    A.   -- right.

3:12:42PM
        8    Q.   You agree with that, though?

3:12:44PM
        9    A.   Today, yes.

3:12:46PM
       10    Q.   Okay.    In your direct testimony, you also talked about

3:12:50PM
       11    mixing and matching in family groups.

3:12:52PM
       12         Do you recall that?

3:12:53PM
       13    A.   Yes.

3:12:53PM
       14    Q.   All right.    You didn't do an independent analysis,

3:12:54PM
       15    however, of what percentage of families already mix and match

3:12:58PM
       16    within the family group, right?

3:13:04PM
       17    A.   No.

3:13:05PM
       18    Q.   And, in fact, as you told us in your deposition, it's very

3:13:10PM
       19    common today for families to have devices in addition to

3:13:12PM
       20    phones that run different operating systems.

3:13:14PM
       21         You recall that?

3:13:18PM
       22    A.   Yes, for example, phones and PCs.

3:13:20PM
       23    Q.   Right.    And your testimony is that when something

3:13:23PM
       24    facilitates synchronization across platforms, it reduces

3:13:23PM
       25    mixing and matching costs, correct?
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 81 of 1271824
                                    ATHEY - CROSS / DUNN

3:13:23PM
        1                THE REPORTER:     Excuse me.   I'm sorry.   I need you to

3:13:23PM
        2    repeat that.

3:13:23PM
        3                MS. DUNN:    Sorry.

3:13:32PM
        4                THE COURT:    Two minutes, Ms. Dunn.

3:13:34PM
        5    BY MS. DUNN:

3:13:34PM
        6    Q.   Well, I want to spend my two minutes clearing up something

3:13:36PM
        7    that we've been talking about for -- since -- like the past

3:13:39PM
        8    two weeks.

3:13:40PM
        9         You agree V-Bucks can be purchased on one platform and

3:13:44PM
       10    spent on another, correct?

3:13:49PM
       11    A.   Not -- not all platforms.

3:13:52PM
       12    Q.   But -- right.       Not on Sony and not Nintendo, but on other

3:13:55PM
       13    platforms, V-Bucks can be spent -- bought on one platform and

3:13:59PM
       14    spent on another.

3:13:59PM
       15         You know that, right?

3:14:01PM
       16    A.   On some, yes.

3:14:02PM
       17    Q.   Okay.    And that's not just true on a PC; that's also true

3:14:05PM
       18    on a web browser, which is right on the phone, correct?

3:14:12PM
       19    A.   The phones have a web browser, yes.

3:14:14PM
       20    Q.   Right.    And you can buy V-Bucks on the web browser.

3:14:17PM
       21         You know that, right?

3:14:19PM
       22    A.   Yes.

3:14:19PM
       23    Q.   Okay.    And so even if you are out and about, you can buy

3:14:23PM
       24    V-Bucks on your iPhone, not through the app store, correct?

3:14:27PM
       25    A.   I don't know if you've ever tried to do that with a baby
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 82 of 1271825
                                    ATHEY - CROSS / DUNN

3:14:30PM
        1    on your shoulder, but in principle, yes.

3:14:33PM
        2    Q.   I assure you I've tried to do everything with a baby on my

3:14:37PM
        3    shoulder.

3:14:37PM
        4         So the same thing with the New York Times.         You can

3:14:40PM
        5    subscribe through the web browser on the phone, correct?

3:14:46PM
        6    A.   If you're aware that that is a possibility.

3:14:48PM
        7    Q.   Right.   And you have no data to say that consumers don't

3:14:52PM
        8    know that's a possibility.        You've done a study of that?

3:14:59PM
        9    A.   I have -- I have not studied the percentage of consumers

3:15:05PM
       10    who are aware of their -- their options.

3:15:08PM
       11    Q.   Right.   And the web browser itself is middleware.

3:15:10PM
       12         You agree with that?

3:15:14PM
       13    A.   Yes.

3:15:16PM
       14                THE COURT:    Okay.   It's 3:15.

3:15:18PM
       15                MS. DUNN:    Thank you, Your Honor.

3:15:20PM
       16                THE COURT:    So you may step down for the day,

3:15:22PM
       17    Professor Athey.        We start -- we'll have you back on the stand

3:15:27PM
       18    somewhere between 8:00 and 8:15.        You can leave those binders

3:15:32PM
       19    there and step down.

3:15:35PM
       20                THE WITNESS:    Thank you, Your Honor.

3:15:37PM
       21                THE COURT:    We have -- I have a calendar in 15

3:15:40PM
       22    minutes, so we will stand in recess until 8:00 a.m. unless

3:15:43PM
       23    there is something urgent I need to deal with.

3:15:50PM
       24                MR. EVEN:    Nothing here, Your Honor.

3:15:50PM
       25                MR. BORNSTEIN:     Nothing, Your Honor.
            Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 83 of 1271826



3:15:51PM
        1              MS. DUNN:    Nothing, Your Honor.      Thank you.

3:15:51PM
        2              THE COURT:     Okay.   Thank you very much.     We will

3:15:53PM
        3    stand in recess until 8:00 a.m.

3:15:56PM
        4                   (Proceedings concluded at 3:15 P.M.)

3:15:56PM
        5

3:15:59PM
        6

3:15:59PM
        7                          CERTIFICATE OF REPORTERS

3:15:59PM
        8

3:15:59PM
        9

3:15:59PM
       10              We, Diane E. Skillman and Pamela Hebel, certify that

3:15:59PM
       11    the foregoing is a correct transcript from the record of

3:15:59PM
       12    proceedings in the above-entitled matter.         We further certify

3:15:59PM
       13    that we are neither counsel for, related to, nor employed by

3:15:59PM
       14    any of the parties to the action in which this hearing was

3:15:59PM
       15    taken, and further that we are not financially nor otherwise

3:15:59PM
       16    interested in the outcome of the action.

3:15:59PM
       17

3:15:59PM
       18                        _______/S/DIANE E. SKILLMAN______

3:15:59PM
       19                      Diane E. Skillman, CSR, RPR, FCRR

3:15:59PM
       20

3:15:59PM
       21                       _________/S/ PAMELA HEBEL__________

3:15:59PM
       22                       Pamela Hebel, CSR, RMR, FCRR

3:15:59PM
       23

3:15:59PM
       24                           Tuesday, May 11, 2021

3:15:59PM
       25
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                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

 Before The Honorable YVONNE GONZALEZ ROGERS, Judge

 EPIC GAMES, INC.,           )
                             )
        Plaintiff,           )          NO. C-20-5640 YGR
                             )
   vs.                       )          Wednesday, May 12, 2021
                             )
 APPLE, INC.,                )          Oakland, California
                             )
        Defendant.           )          BENCH TRIAL
 ____________________________)
 APPLE, INC.,                )
                             )
        Counterclaimant,     )
   vs.                       )
                             )
 EPIC GAMES, Inc.,           )
                             )
        Counter-Defendant.   )
 ____________________________)


                REPORTER'S TRANSCRIPT OF PROCEEDINGS

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                       (Appearances continued.)

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       TRANSCRIPT PRODUCED BY COMPUTER-AIDED TRANSCRIPTION
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24

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1     Plaintiff's Witnesses:                                    Page     VOL.

2     Athey, Susan

3     Cross-Examination by Ms. Dunn (resumed)                   1836      8

4     Redirect Examination by Mr. Even                          1864      8

5

6     Defendant's Witnesses:

7     Schmalensee, Richard

8     Direct Examination by Mr. Swanson                         1876      8

9     Cross-Examination by Mr. Bornstein                        1906      8

10    Redirect Examination by Mr. Swanson                       1990      8

11    Recross-Examination by Mr. Bornstein                      1994      8

12    Lafontaine, Francine

13    Direct Examination by Ms. Dunn                            2001      8

14    Cross-Examination by Mr. Bornstein                        2028      8

15

16    Hitt, Lorin

17    Direct Examination by Ms. Richman                         2073      8

18    Plaintiff's Exhibits:                                     EVD.     VOL.

19

20    Defendant's Exhibits:                                     EVD.     VOL.

21         5548                                                 1877      8

22

23

24

25
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 87 of 1271830



1     Wednesday, May 12, 2021                                       8:00 a.m.

2                              P R O C E E D I N G S

3                 THE COURT:    Let's go on the record and see who we

4     have.

5          Ms. Stone.

6                 THE CLERK:    All right.

7          Calling civil action 20-5640, Epic Games, Inc. versus

8     Apple, Inc.

9          Counsel, please state your appearances.

10                MS. FORREST:    Good morning, Your Honor.     Katherine

11    Forrest for Epic.

12                THE COURT:    Good morning, Ms. Forrest.

13                MR. EVEN:    Good morning, Your Honor.     Yonatan Even

14    for Epic.

15                THE COURT:    Good morning.

16                MS. KLOSS:    Good morning, Your Honor.     Lauren Kloss

17    for Epic.

18                THE COURT:    Good morning.

19                MS. COSCIA:    Good morning, Your Honor.     Monica Coscia

20    for Epic Games.

21                MR. DIESSEL:    Good morning, Your Honor.     Ben Diessel

22    for Epic Games.

23                THE COURT:    So it's -- we have a new one.      Monica

24    Coskia [phonetic]?       Is that right?

25                MS. COSCIA:    Cosia [phonetic], Your Honor.      Yes.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 88 of 1271836
                         ATHEY - CROSS (RESUMED) / DUNN

1                 THE COURT:    Ms. Dunn, you may proceed with your

2     cross.

3                 MS. DUNN:    Thank you, Your Honor.

4          For the court reporter, Karen Dunn for Apple.

5                                  SUSAN ATHEY,

6     called as a witness for the PLAINTIFF, having been duly sworn,

7     testified as follows:

8                          CROSS-EXAMINATION (RESUMED)

9     BY MS. DUNN:

10    Q.   Welcome back, Dr. Athey.      Good morning.

11    A.   Good morning.

12    Q.   So yesterday we left off talking about how the web browser

13    is middleware.     Do you remember that?

14    A.   Yes.

15    Q.   And you have said that third-party app stores are

16    middleware.

17         You've said that, correct?

18    A.   Correct.

19    Q.   All right.

20         And a store within a store is also middleware, correct?

21    A.   Yes.   To -- to be clear, you know, middleware can have

22    many characteristics so, you know, different types of

23    middleware will -- will function in different ways, so I'm not

24    trying to define "middleware" by one of those specific

25    examples.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 89 of 1271837
                         ATHEY - CROSS (RESUMED) / DUNN

1     Q.   Okay.   But to the extent that you use this --

2     A.   Yes.

3                           (Simultaneous colloquy.)

4                 THE COURT:   One at a time, please.

5     BY MS. DUNN:

6     Q.   To the extent that you use this phrase, you would include

7     store within a store within your general notion of middleware,

8     correct?

9     A.   Yes.

10    Q.   And in your opinion, app stores can differentiate by

11    specializing in narrow categories of content, like games,

12    correct?

13    A.   Yes.

14    Q.   And in your report and in your written testimony, you

15    provide three case study examples.        One is Steam.     One is

16    GameClub.    And one is Epic Game Store, correct?

17    A.   Yes.

18    Q.   All right.

19         So we'll talk about Steam and GameClub in a moment, but

20    first, to be clear, you describe Epic Game Store as a

21    personalized gaming-focused multi-platform app store; is that

22    right?

23    A.   Yes.

24    Q.   And in your written direct testimony, you say that Apple

25    excludes multi-platform app stores like Steam, correct?
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 90 of 1271838
                         ATHEY - CROSS (RESUMED) / DUNN

1     A.   Yes.

2     Q.   And in your written direct testimony, you say Steam is a

3     specialized multi-platform app store.         Users can store their

4     purchase content in their Steam Library, store their payment

5     methods in their Steam Wallet, chat and text with other users

6     in real time with Steam Chat, and that by enabling users to

7     access games and purchase game content, Steam reduces users'

8     switching and mixing and matching costs, correct?

9     A.   I don't have it in front of me, but that sounds -- that --

10    yes, I agree with the content.

11    Q.   Great.

12         And I'm not --

13    A.   Yeah.

14    Q.   It's just for time.

15    A.   Yes.

16    Q.   I would be happy to put it up for you.

17    A.   No problem.

18    Q.   And in your direct testimony, you said that this is

19    available on the Mac, on Windows and on Linux, correct?

20    A.   Yes.

21    Q.   Okay.    So I'd like to now put on the screen a slide that

22    shows what happens when you search Steam in Apple's App Store.

23         And I'm asking Mr. Spalding to put that on the screen.

24                        (Demonstrative published.)

25                MS. DUNN:   I don't know if your screen looks like
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 91 of 1271839
                         ATHEY - CROSS (RESUMED) / DUNN

1     mine, but the color seems --

2                 THE COURT:    Color seems off.

3                 MS. DUNN:    -- very purple.

4                 THE WITNESS:    Thank you.     I see it.   Thank you.

5     BY MS. DUNN:

6     Q.   Okay.

7          And I don't know if you can see this, given the --

8                 THE COURT:    Is that us, or is that you, Mr. Spalding?

9                 MR. SPALDING:    I believe the court.

10                THE COURT:    Okay.   We'll try to --

11         Do you have a physical copy of this one, Ms. Dunn?

12                MS. DUNN:    We do.

13         This is at -- at Defense Exhibit 5621 in your binder.

14                THE COURT:    We'll try to fix that.

15                MS. DUNN:    Thank you, Your Honor.

16                             (Exhibit published.)

17                MS. DUNN:    All right.   So, Dr. Athey, if you turn to

18    Defense Exhibit 5621 in your binder.

19    A.   Yes.

20    Q.   So if you look at this screenshot, you can see that we

21    search "Steam" in the Apple App Store.          "Steam" is in the

22    search bar.     And you can see that what comes up are three

23    Steam native apps available in the App Store.          One is called

24    Steam Mobile.    One is called Steam Link.        And the third is

25    called Steam Chat.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 92 of 1271840
                         ATHEY - CROSS (RESUMED) / DUNN

1          Do you see that?

2     A.   Yes.

3     Q.   Okay.    Now, if you'll turn to Defense Exhibit 5616.

4                             (Exhibit published.)

5     BY MS. DUNN:

6     Q.   This is a screenshot from Steam's website about Steam

7     Mobile.     And it describes Steam Mobile, which it also calls

8     "the Steam App," and you can see in the screenshot there's a

9     picture of an iPhone and an Android phone.

10         Do you see that?

11    A.   Yes.

12    Q.   All right.    It also says you can download the Steam App on

13    the App Store and on Google Play.

14         Do you see there at the bottom?

15    A.   Yes.

16    Q.   Okay.    And towards the top, it says that with the app, you

17    can manage your account, shop, and stay up to date with games

18    in the community.

19         Do you see that?

20    A.   Yes.

21    Q.   Okay.    And so prior to your report, were you aware that

22    this app existed?

23    A.   (Reviewing document.)

24         Sorry.    I'm just trying read all the -- all the material

25    here with the different apps.       These --
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 93 of 1271841
                         ATHEY - CROSS (RESUMED) / DUNN

1     Q.   I'm just --

2     A.   I'm sorry.

3     Q.   -- asking at this point about the Steam Mobile app.

4          Were you aware prior to your report that this app existed?

5     A.   (Reviewing document.)

6          Yes.

7     Q.   Yet you did not mention this in your report or in your

8     testimony; is that correct?

9     A.   This -- sorry.

10    Q.   Dr. Athey, this is just a "yes" or "no."

11         This is not mentioned in your report, and it was not

12    mentioned in your testimony, either your written direct

13    testimony or in your testimony yesterday, correct?

14    A.   My testimony describes the functionality, but I -- I

15    didn't specifically describe this app.

16    Q.   Right.   You did not mention that there is an app in the

17    App Store called Steam Mobile, correct?

18    A.   Correct.

19    Q.   And you did not mention that there was an app in the App

20    Store called Steam Link, correct?

21    A.   Correct.

22    Q.   And you did not mention, just to finish this out, that

23    there's an app in the App Store called Steam Chat, correct?

24    A.   Correct.

25    Q.   And yet you say you were aware of this before yesterday,
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 94 of 1271842
                         ATHEY - CROSS (RESUMED) / DUNN

1     correct?

2     A.   Yes.

3     Q.   Okay.

4          All right.     So --

5                  THE COURT:    So, Ms. Stone, I -- I'm being told that

6     we have to restart the system, so let's put a pause on your

7     clock.      And we should go ahead and reboot it.

8                  THE CLERK:    Okay.    All right.

9                  MS. DUNN:    Thank you, Your Honor.

10                         (Pause in the proceedings.)

11                 THE COURT:    So while we're waiting here, if I had a

12    jury, I would tell some kind of joke and they would laugh

13    because I'm a judge and I'm -- even though I'm not funny.

14         But I do want to correct for the record -- I know there

15    are lots -- lots of people are taking -- they're all trying to

16    figure out who all of us are.          I don't want to be in trouble

17    with my son, so I'll tell everybody he's an aerospace

18    engineer, not an aeronautical engineer.          I'd like the record

19    globally to be corrected.          He's an aerospace engineer.   I

20    misspoke one day and, apparently, that got picked up, so

21    really don't want to be in trouble with him.

22         So okay.     Now we have our thing back.

23         Thanks for that.

24                 MS. DUNN:    Thank you, Your Honor.

25                 THE COURT:    All right.    Ms. Dunn, proceed.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 95 of 1271843
                         ATHEY - CROSS (RESUMED) / DUNN

1     BY MS. DUNN:

2     Q.   All right.    Dr. Athey, are you aware that users can buy

3     games and manage their Steam Wallet account through this app?

4     A.   So this -- this app allows you, as it says on the -- on

5     the exhibit, to browse the Steam catalog of Windows, Mac, and

6     Linux titles from your phone.

7     Q.   Right.   I'm not asking you to read the screen.         I'm just

8     asking you to tell me whether you're aware that users can buy

9     games and manage their Steam Wallet account through this app.

10    That's the question.

11    A.   And -- I think the clarification is that they -- they

12    can't buy games -- they can't buy iOS games.          They can buy

13    Windows, Mac, and Linux games, which are games.

14    Q.   Right.

15         And you're aware, aren't you, even though it doesn't say

16    so here, that users can manage their Steam Wallet account

17    through this app, correct?

18    A.   Yes.

19    Q.   All right.

20         Let's move to the Steam Link app in the App Store, so I'll

21    ask you to turn to Defense Exhibit 5617.

22                            (Exhibit published.)

23    BY MS. DUNN:

24    Q.   Now, 5617 -- excuse me -- is a Tweet that Steam sent out

25    when they launched Steam Link.       This Tweet from Steam says the
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 96 of 1271844
                         ATHEY - CROSS (RESUMED) / DUNN

1     Steam Link app is now available for free on all iOS and -- for

2     all iOS and Apple TV users.       The app allows gamers to stream

3     their Steam library to their iPhone, iPad, and Apple TV.

4          And you can see on this Tweet that there's a picture of a

5     person playing Steam games on their iPhone using a controller

6     attachment, which are available in the market today.

7          You see that, correct?

8     A.   Yes.

9     Q.   Okay.

10         And are you aware that through Steam Link, iOS users can

11    play Steam games on their iPhones and iPads through Steam

12    Link, which is an app on iOS.

13         You're aware of that.

14    A.   Yes.

15    Q.   Right.

16         And you said that you were aware prior to yesterday that

17    this existed; is that -- that's what you said?

18    A.   Yes.

19    Q.   Okay.

20         All right.    Will you turn to Exhibit 5622.

21                            (Exhibit published.)

22    BY MS. DUNN:

23    Q.   All right.    5622 is a screenshot also from the Steam

24    website, and it describes Steam Link in more detail.           And it

25    says -- if you look under the word "install," it says "install
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 97 of 1271845
                         ATHEY - CROSS (RESUMED) / DUNN

1     the App to play your Steam games."

2          And then in extremely small print, it says under "Steam

3     Link," "stream games from your computer with Steam."

4          Do you see that?

5     A.   Yes, I can see that.

6     Q.   Okay.   That's in -- in the -- it's written there in the

7     mobile device.     You see that?

8     A.   I can see it, yes.

9     Q.   Okay.

10         And on the right, it says "extend your Steam gaming

11    experience to your mobile device, TV, or other PC.           All you

12    need is a local network or an Internet connection.           In

13    addition, Steam Link App now supports remote play together.

14    Now you can join games hosted on a friend's PC just by

15    clicking a link," correct?

16         You see that.

17    A.   Yes.

18    Q.   Okay.

19         And this also was not mentioned in your report, your

20    written direct testimony, or your testimony yesterday,

21    correct?

22    A.   So my report describes the overall set of features

23    associated with Steam.      But the -- the details of -- of

24    streaming from your own PC on to your device, I -- I don't

25    believe I've -- I put in those details, although I'd need to
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 98 of 1271846
                         ATHEY - CROSS (RESUMED) / DUNN

1     check to be sure.

2     Q.   Right.

3          And you -- all those details you mentioned, the ones that

4     you described, like using Steam Wallet, purchasing games,

5     playing your Steam games, that you can do through these apps

6     in the App Store, that was not mentioned in your report.

7          There's no place where you say Steam has apps in the App

8     Store, correct?

9     A.   So I would need to review to see exactly what's there.

10    I've referenced the -- the Steam documentation and so on.

11         But I would need to -- to -- to double-check to see

12    exactly which details are -- are included.

13    Q.   Okay.    Do you have any idea how many times a day Steam

14    Link is downloaded?

15    A.   I don't know that number now.

16    Q.   Okay.

17         If you'll turn to Defense Exhibit 5601.

18                            (Exhibit published.)

19    BY MS. DUNN:

20    Q.   -- in your binder.     And if you -- it's an article called

21    "75 Steam statistics from 2019 and 2020."

22         This is actually one of the source materials for your

23    report.   It's footnote 62 to paragraph 36, I believe.

24         And according to this source material, it says that Steam

25    Link, which allows users -- this is on page 3 -- it says that
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 99 of 1271847
                         ATHEY - CROSS (RESUMED) / DUNN

1     Steam Link, which allows users to play games on their mobile

2     devices, has been installed 2 million times.

3          Do you see that?

4     A.   Yes.

5     Q.   And right beneath that, it says, on average Steam Link is

6     downloaded at around 52,000 times daily.

7          Do you see that?

8     A.   Yes.

9     Q.   Okay.

10         And so you don't have any reason to -- to disagree with

11    that, do you?

12    A.   No.

13    Q.   Okay.    If we could go to Defense Exhibit 5623.

14                            (Exhibit published.)

15    BY MS. DUNN:

16    Q.   This is a screenshot of Steam Chat also from the Steam

17    website.     This is another app that you can download from the

18    App Store and on Google Play.

19         You can see the icons that say "download on the App Store"

20    and "get it Google play."

21         You see that?

22    A.   Yes.

23    Q.   All right.    And Steam Chat, it says, is a lightweight app

24    focused on chatting with friends and groups.

25         You see that?
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 100 of 1271848
                          ATHEY - CROSS (RESUMED) / DUNN

1     A.   Yes.

2     Q.   It offers rich chat, which always makes me think of

3     Mr. Doren.

4          Do you see that?

5     A.   I'm sorry.     Rich chat.

6     Q.   Rich chat.

7     A.   Yes.    Yes.

8     Q.   Okay.

9          And with Steam -- with the Steam Chat App, users can

10    accept invites and then play with their friends in Steam Link

11    on their iPhone.

12         Are you aware of that?

13    A.   Yes.

14    Q.   Okay.    And, in fact, that's what's happening in this image

15    over here on the iPhone, it says, "Ben from school has invited

16    you to play, and all you need to do is click that link and

17    you're in the game."

18         Do you see that?

19    A.   I see that you can accept the invite from your personal

20    computer, PC.

21    Q.   Right.

22         So you're not aware that if you click the link, you're in

23    the game?

24    A.   If -- if I have a PC with me.        Not if I'm at school if --

25    if I'm a kid or if I'm in the bus.         But if I was using a PC
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 101 of 1271849
                          ATHEY - CROSS (RESUMED) / DUNN

1     and had that available.

2     Q.   Well, Dr. Athey, you've never used this, correct?

3     A.   I've used Steam.     But I haven't used Steam Chat.

4     Q.   Right.    Or Steam Link.

5          And if you had used them, you would know actually that you

6     don't need your PC with you.        Your PC could be anywhere to do

7     this, so --

8     A.   So -- I'm sorry.     I just -- I'm reading from the side,

9     "you can accept this invite from your PC."          So the -- the game

10    is being run in the PC.       The game -- the PC needs to be on if

11    it's -- you know, to -- to use this functionality.

12         So you need to have the -- if you're streaming a game from

13    your PC, the PC is involved.

14    Q.   But it -- but you said --

15    A.   Correct.

16    Q.   -- it needs to be with you.       And that is not correct.

17         Are you aware of that?

18    A.   So if it's -- you need to be able to have it on.           So if

19    you -- if -- yeah, if you have a laptop, for example, you

20    would need to be able to turn on your laptop, so I suppose if

21    you -- you know, if you've -- if laptop isn't being used by

22    anybody else and it's been -- it's been left on, that would be

23    a different scenario.

24         But if you're -- if you were carrying your laptop -- if

25    your laptop is in your locker or if your laptop is in your
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 102 of 1271850
                          ATHEY - CROSS (RESUMED) / DUNN

1     briefcase and it's off, then you can't -- you -- you would

2     need to make it available for that purpose.

3     Q.     Right.

4            And I'm just saying you had said you need to have it with

5     you.    That's not correct.

6            And if you don't know, it's okay.

7     A.     Sorry.   So you --

8     Q.     I'm just asking --

9     A.     Yes.

10    Q.     -- whether you know that you don't need to have it with

11    you?

12    A.     Not necessarily.      Depends on the circumstance.

13                  THE COURT:    She's a professor at Stanford.     She

14    can -- there isn't any harassment going on here, Mr. Even,

15    so --

16                  MR. EVEN:    Okay.

17                  THE COURT:    So she can the answer questions, or she

18    can argue the way she is.          There's nothing objectionable.

19    This is cross-examination.

20                  MS. DUNN:    Thank you, Your Honor.

21    Q.     Dr. Athey, do any other companies have technologies like

22    Steam Link?

23    A.     So if you're asking is it possible -- if you're talking

24    about, like, a functionality to do remote desktop, yes.

25    Q.     Okay.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 103 of 1271851
                          ATHEY - CROSS (RESUMED) / DUNN

1          And so you must be aware that Playstation and XBox both

2     have native Apps on the iOS that allow playing of their games.

3          You're aware of that?

4     A.   Again, that's a -- that's a broad statement, so there are

5     specific ways that you could, for example, play a game on a

6     device that you own and -- and through a -- this kind of

7     remote-desktop-type functionality.

8     Q.   Okay.

9          I'd just like to put on the screen, and then we can move

10    on, DX5624.     This is Playstation's remote play from

11    Playstation.com.

12         Do you see that?

13                             (Exhibit published.)

14                THE WITNESS:    Yes.

15    BY MS. DUNN:

16    Q.   Okay.

17         And then if we can just put up Defense Exhibit 5620.

18                             (Exhibit published.)

19    BY MS. DUNN:

20    Q.   This is Microsoft's XBox remote play, which shows somebody

21    playing with a controller on a iPhone.

22         Do you see that?

23    A.   Yes.

24    Q.   Okay.

25         All right.    Dr. Athey, moving on from Steam, your third
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 104 of 1271852
                          ATHEY - CROSS (RESUMED) / DUNN

1     example is GameClub, which is currently available as a native

2     App on iOS, correct?

3     A.   Yes.

4     Q.   All right.

5          And if you'll turn in your binder to Defense Exhibit 5608.

6                              (Exhibit published.)

7     BY MS. DUNN:

8     Q.   On page 2.

9     A.   (Reviewing document.)

10    Q.   And I'm just reading from the description here.           This is

11    from GameClub's press kit.

12         They say that GameClub is the all-you-can-play

13    subscription home for mobile's top premium games, delivering

14    unlimited exclusive access to over a hundred universally

15    acclaimed titles, playable on both iOS and Android with new

16    games added every week.       These games are optimized for the

17    latest mobile devices and have no apps or in-app purchases as

18    part of a single subscription that can be shared with up to 12

19    family members.

20         And you can see at the end, that costs 4.99 a month, and a

21    GameClub subscription, it says, is completely cross-platform

22    with a single log-in that works anywhere.

23         Do you see that?

24    A.   Yes.   I believe that's the way I described it in my

25    report.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 105 of 1271853
                          ATHEY - CROSS (RESUMED) / DUNN

1     Q.   I agree with that.

2          You also know that one GameClub account carries over

3     across both Android and iOS, correct?

4     A.   Yes, that's a key feature.

5     Q.   Right.

6          And you also know that GameClub has family-sharing, which

7     means a user can buy a game on iOS, and then their kids can

8     play on Android or vice versa, correct?

9     A.   Absolutely.     Again, that's a key feature.

10    Q.   Right.

11         And GameClub is a direct competitor to Apple Arcade, and

12    GameClub is available in the App Store today, correct?

13         You agree with that.

14    A.   Yes.

15    Q.   You take --

16    A.   I'm sorry.    I -- it's -- I mean, I didn't perform a full

17    analysis of the substitution between the two, but, you know,

18    at a high level, yes.

19    Q.   Okay.

20         But in your deposition, you agreed that GameClub competes

21    directly with Apple Arcade.

22         You remember that?

23    A.   Yes.

24    Q.   Okay.

25         You do take issue, however, with the requirement that each
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 106 of 1271854
                          ATHEY - CROSS (RESUMED) / DUNN

1     game be individually downloaded, which you refer to as a

2     friction.

3          That's true.

4     A.   Correct.

5     Q.   Okay.

6          So first of all, are you aware that Apple Arcade, Apple's

7     competing product, also requires individual download?

8     A.   I'm -- I'm sorry.      You're -- you're asking whether Apple

9     Arcade's -- sorry.

10         Can you restate the question?

11    Q.   I'm happy to.     It was, I'm sure, poorly formed.

12         So Apple has a competing product called Apple Arcade?

13    A.   Yes.

14    Q.   And you're aware that Apple Arcade also requires

15    individual download of games.

16    A.   So -- yes.

17    Q.   And your testimony is that there are unnecessary frictions

18    because there might be large incremental costs between one

19    click and two clicks, correct?

20    A.   Yes.

21    Q.   Right.

22         But you've done nothing to measure what the cost might be

23    of those frictions that you've described, correct?

24    A.   Not specifically for the purpose of this case.

25    Q.   There's some measurement that you did that you didn't
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 107 of 1271855
                          ATHEY - CROSS (RESUMED) / DUNN

1     include?

2     A.   I guess if the question is, you know, have I ever measured

3     frictions from -- from clicks or other types of frictions

4     in -- in my research or in my industry experience, you know,

5     yes, I have.

6          But I didn't perform that specifically for this case.

7     Q.   Okay.   So you agree that they're not part of your

8     testimony.

9     A.   I agree with that.      Yes.

10    Q.   Okay.

11         And at the time that you submitted your report and by the

12    time of your deposition, you hadn't ever used GameClub,

13    correct?

14    A.   No, I've not used GameClub.

15    Q.   Okay.

16         So I'm going to ask Mr. Spalding to pull up on the screen

17    GameClub.

18                         (Demonstrative published.)

19    BY MS. DUNN:

20    Q.   And we found a game in here that we thought looked good.

21    It's called Hatch.      And I'm going to ask Mr. Spalding to click

22    on it within GameClub.       So if he clicks "play now," we go --

23    what happens is -- that's the -- the "play now" is what you

24    click, and then you're directed in the App Store to the app

25    for Hatch so that you can individually download it.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 108 of 1271856
                          ATHEY - CROSS (RESUMED) / DUNN

1          Do you see that?

2     A.   Yes.

3     Q.   All right.

4          And I want to talk to you, Dr. Athey, just for a few

5     minutes about this screen that you see when you -- when you

6     click to individually download.

7          So you can see a page from the App Store pops up.           And

8     then at the top, there's information for the users about

9     ratings, about what age the app is appropriate for.            Here it

10    says "four plus."      What kind of game it is.      Here it says it's

11    simulation game.      Who the developer is.

12         And if Mr. Spalding scrolls to the right, we'll see -- you

13    can also see what language it's in and how much size it's

14    going to take up on your device.

15         Do you see that?

16                         (Demonstrative published.)

17                THE WITNESS:    Yes.

18    BY MS. DUNN:

19    Q.   Okay.   And if you scroll down, you can see if there's

20    something new in the game.         You can see a preview.     You can

21    see the actual ratings and reviews.         There's a section on app

22    privacy, and -- and this is common to apps in the App Store,

23    where it tells you what privacy issues might be implicated by

24    the app.

25         If you scroll down, Mr. Spalding, you can see that there's
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 109 of 1271857
                          ATHEY - CROSS (RESUMED) / DUNN

1     other information that's listed, including the seller of the

2     game, the size, the category, compatibility -- this says it

3     works on the iPhone -- again languages, the age rating,

4     whether in-app purchase is involved, what's the status of the

5     copyright.

6                          (Demonstrative published.)

7     BY MS. DUNN:

8     Q.   There's even a link for the developer website which you

9     can click and it would go there, and then privacy policy.

10         And at the bottom, you can see if there are more games by

11    that developer.

12         Do you see all of that?

13    A.   Yes.

14    Q.   Okay.

15         And you would agree with me, I presume, that there may be

16    a benefit to users in receiving this information, like for

17    example, whether the game is appropriate for ages four and up,

18    correct?

19    A.   (Reviewing document.)

20         So if -- if you're asking is -- about the way in which

21    this information is presented, I think there can be many ways

22    to make sure that users have this information.           The

23    information itself is useful as -- as far as -- as far as I

24    know.

25    Q.   Right.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 110 of 1271858
                          ATHEY - CROSS (RESUMED) / DUNN

1          I -- I'm not -- I -- that's fair.        I'm not asking you

2     whether there's a different way to do it or a way you might

3     prefer.     I'm just asking whether you can acknowledge that

4     there's a benefit to users in being able to receive this

5     information.

6     A.   Receiving the information is -- is, from my -- from my

7     knowledge, these -- this kind of information would be valuable

8     to consumers, and having it well organized and -- and -- would

9     also be something that users might value; although I haven't

10    specifically analyzed, you know, individual pieces of this

11    information.

12    Q.   Right.    And I appreciate that.

13         And I think you also might acknowledge that this also

14    enables the developer to advertise other features to talk

15    about other games it has and to convey information to the

16    user.

17         You would agree with that, correct?

18    A.   So I think the -- there's constraints on the -- here on

19    the way that the developer provides that information.            But the

20    screen includes that information in -- in this case.

21    Q.   Including a link to the develop -- developer's own

22    website, correct?

23         You saw that part.

24    A.   Yes.

25    Q.   Okay.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 111 of 1271859
                          ATHEY - CROSS (RESUMED) / DUNN

1          All right.    Dr. Athey, your opinion is critical on

2     restrictions to interoperability.

3                           (Simultaneous colloquy.)

4     BY MS. DUNN:

5     Q.   Strike that.

6          Your opinion is critical of restrictions on

7     interoperability.

8     A.   That -- that's a broad statement, but the -- so I -- I'm

9     not -- I haven't said that operating systems need to be the

10    theme if -- if that's what you're asking.

11         But there are certain types of interoperability that would

12    be beneficial.

13    Q.   Okay.   So you say the inability to mix and match across

14    devices with different operating systems because of limited

15    interoperability and synchronization of apps and services

16    creates what I call an app barrier to mixing and matching,

17    correct?

18    A.   Yes.

19    Q.   And that seems critical of restrictions on

20    interoperability, does it not?

21    A.   Yes.

22    Q.   All right.

23         And in your written testimony, you've said users do not

24    benefit from frictions to switching.

25         Do you remember that sentence in your written testimony?
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 112 of 1271860
                          ATHEY - CROSS (RESUMED) / DUNN

1     A.   Yes.

2     Q.   At paragraph 52.

3     A.   Okay.

4     Q.   Okay.

5          And that's not a qualified statement you make in paragraph

6     52, which I can show to you.

7     A.   So the -- the sentence is in the context of the -- of the

8     setting that I'm describing.

9     Q.   All right.

10         So you disagree, Dr. Athey, that technical --

11    technological incompatibilities can increase competition by

12    providing consumers a choice.

13    A.   So that's a -- to -- to state -- to state the proposition

14    would be that consumers can be offered choices of -- between

15    different technologies, and having different technologies is a

16    potential benefit for consumers.

17    Q.   We definitely agree on that.

18         My question is whether you disagree with that

19    technological incompatibilities can increase competition by

20    providing consumers a choice.

21    A.   So a sentence like that would need to be taken in context.

22         So are you talking about incompatibility for its own sake

23    so the -- the phrasing of the sentence says "by providing

24    consumers a choice," which I think implies that there's

25    something that the consumer would choose, that there would --
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 113 of 1271861
                          ATHEY - CROSS (RESUMED) / DUNN

1     something that they would value?

2          So, again, I -- I think if I was trying to -- that's not a

3     very precisely worded sentence without context around it,

4     but -- but I think I answered your question.

5     Q.   Sort of.

6          So what I'm saying is technological incompatibilities can

7     increase competition because they give consumers a choice.

8          Do you agree with that?

9     A.   I guess with the word "can" would -- could -- would refer

10    to the context in which a sentence like that is being stated,

11    so yes.

12    Q.   All right.

13         In your opinion, a failure to provide interoperability

14    could be illegal conduct.       That's your opinion.

15    A.   There are situations -- and -- and my understanding is

16    there are -- have been situations where a dominant firm has

17    been found to engage in illegal conduct around issues of

18    interoperability.

19    Q.   Right.

20         And it's your opinion that forced interoperability could

21    be a remedy in some antitrust cases, correct?

22    A.   I want to make sure we're clear on the term

23    "interoperability," but --

24               THE COURT:    Mr. Even, if you have an objection, just

25    say it "objection."
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                          ATHEY - CROSS (RESUMED) / DUNN

1                MR. EVEN:    Okay, Your Honor.

2                THE COURT:    Because Ms. Dunn isn't looking behind

3     herself and she can't see you standing.

4                MR. EVEN:    I will do, Your Honor.      I was just trying

5     not to interrupt Ms. Dunn, but I do want to lodge an objection

6     that I think we're venturing far into legal opinion realm.

7                THE COURT:    Okay.    So -- and the other thing is if

8     you don't object after the question, then the witness is going

9     to answer.     So I can see you standing, but you need to object.

10         I certainly am not taking her testimony as legal opinion.

11         I don't know what the point of this, Ms. Dunn.           So if you

12    can rephrase with the point.

13               MS. DUNN:    Sure.    This was a discussion that we had

14    with Dr. Athey in her deposition about forced

15    interoperability, so I -- mainly just trying to discuss that

16    with Dr. Athey.

17    Q.   And I guess my -- my only question here is whether it is

18    your view that forced interoperability should be a remedy in

19    this case?

20               MR. EVEN:    Same objection, Your Honor.

21               THE COURT:    Well, have you expressed an opinion on

22    forced interoperability?

23               THE WITNESS:     So I -- that --

24               THE COURT:    I just want to know, have you expressed

25    an opinion?
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 115 of 1271863
                          ATHEY - CROSS (RESUMED) / DUNN

1                THE WITNESS:     No.

2                THE COURT:    Okay.

3                THE WITNESS:     It -- well, let me make sure I -- can I

4     understand the question?       So my -- in my -- my summary of

5     opinions does not -- does not use the term "forced

6     interoperability."

7          I'm trying to understand, you know, the -- the question

8     and the -- the bounds of the term which would be important to

9     be precise.

10         So my opinion, which I tried to state clearly, was about

11    restrictions on middleware.        And so removing those

12    restrictions would be, in my opinion, beneficial for consumers

13    and developers.     So that -- my -- my opinion was about how

14    changing restrictions would affect consumers and -- and

15    developers.

16    BY MS. DUNN:

17    Q.   Right.

18         And my question is since you used the word

19    "interoperability" throughout your report and your testimony,

20    whether you understand that what Epic is asking for in this

21    case is for Apple to make its products interoperable.

22    A.   So, again, when I'm using the term "interoperability," I'm

23    using it in the context of a specific restriction or the

24    specific experiences of -- of a consumer, so I'm -- I'm

25    concerned with the -- the breadth of your language, that it --
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 116 of 1271864
                            ATHEY - REDIRECT / EVEN

1     it -- you know, am I saying that the -- you know, is

2     everything about Android the same as everything about the

3     iPhone, or would -- should it be that apps that run on Android

4     also run on iPhone.

5          So there's -- you know, without more context and

6     specificity, that term could be -- you know, saying you should

7     have forced interoperability could be interpreted in a lot of

8     different ways.     So I've tried to be specific about what kinds

9     of interoperability would be beneficial.          And I gave specific

10    examples of those, which I could give again if you -- if it's

11    not clear.

12    Q.   No.   That's unnecessary.

13         Your Honor, I pass the witness.

14               THE COURT:    Redirect.

15                             REDIRECT EXAMINATION

16    BY MR. EVEN:

17    Q.   Good morning, Professor Athey.

18    A.   Good morning.

19    Q.   I want to ask you a few questions about some of the

20    questions that Ms. Dunn presented today and yesterday.

21         And let's start with the last point about

22    interoperability.       Have you given any opinions in your reports

23    or in your direct about any duty on Apple to make any of its

24    own software available on Android, for instance?

25    A.   No.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 117 of 1271865
                            ATHEY - REDIRECT / EVEN

1     Q.   Ms. Dunn asked you some questions about something called

2     GameClub.

3          Do you remember that?

4     A.   Yes.

5     Q.   And she said GameClub is available now on the iOS?

6     A.   Yes.

7     Q.   Do you remember from your report whether GameClub's entry

8     into iOS was smooth?

9     A.   No.    In my report, I mention that GameClub's application

10    to the App store was rejected more than 100 times.

11    Q.   And can GameClub under Apple's current restrictions offer

12    any and all games?

13    A.   No.

14    Q.   What kind of games can GameClub offer?

15    A.   So GameClub needs to have an exclusive license to its

16    games, and so it -- it can't offer -- the restrictions

17    preclude third-party games, so there -- these are contractual

18    restrictions not related to the -- you know, the game itself

19    but whether the game developer has a contract with someone

20    else.

21    Q.   Turning to Steam, you mentioned Steam on your direct

22    testimony as a -- an example of a cross-platform app store,

23    correct?

24    A.   Yes.

25    Q.   And if I remember correctly, you pointed out that it's
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 118 of 1271866
                            ATHEY - REDIRECT / EVEN

1     something that you can download apps on to one operating

2     system and then port them to another operating system, right?

3     A.   That -- the -- that -- what the -- want to be careful with

4     the word "port," but as a user, you can -- say, if you switch

5     from a Mac to a PC or from a PC to the Mac, it facilitates

6     your downloading the game on whichever -- either platform and

7     playing it on that platform.

8     Q.   And you mentioned yesterday that you can do that as a

9     one-stop shop through something like Steam, correct?

10    A.   Correct.

11    Q.   And Ms. Dunn showed you the Steam app on iOS.           Can you

12    download iOS games through the Steam app?

13    A.   On the iOS, no.

14    Q.   Can you download Android games through the Steam store

15    through the app on Android?

16    A.   No.

17    Q.   And Ms. Dunn also asked you a few questions about Steam

18    Link, which allows you to, as we put it, stream games on to

19    your mobile device.

20         Where is this streaming from?

21    A.   From your PC.

22    Q.   And so you would need both the PC running the game and

23    your phone?

24    A.   Correct.

25    Q.   Want to turn to a couple of things that you were asked
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 119 of 1271867
                            ATHEY - REDIRECT / EVEN

1     yesterday.

2          You were asked a few questions about your work for

3     Microsoft.

4          Do you remember that?

5     A.   Yes.

6     Q.   And you remember that counsel for Apple asked you even

7     though it was your relationship with Microsoft that prevented

8     you from looking at Apple's confidential documents, you didn't

9     think you should disclose that on your C.V.

10         Do you remember being asked that question?

11    A.   Yes.

12    Q.   And you said yesterday that what prevented you from

13    looking at Apple's confidential documents was what you

14    referred to as a W2 work for Microsoft.

15         Do you recall that?

16    A.   Yes.

17    Q.   And by "W2," I -- I assume you meant that you were an

18    employee of Microsoft, correct?

19    A.   Correct.

20    Q.   When were you an actual employee of Microsoft?

21    A.   So the employment relationship comes through the Microsoft

22    research visiting researcher program, which is something like

23    if you take a leave of absence from your university or you

24    spend more than a certain amount of time with Microsoft

25    research, then you -- it becomes a employment relationship.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 120 of 1271868
                            ATHEY - REDIRECT / EVEN

1          And so I had that relationship in 2008 and in one other

2     subsequent period.      I believe in 2011 or 2012.

3     Q.   And was your employment for Microsoft or your relationship

4     with Microsoft in 2008 and 2011 disclosed on your C.V. in this

5     case?

6     A.   Yes.

7     Q.   Are you presently engaged by Microsoft on any antitrust

8     matter?

9     A.   No.

10    Q.   Did you seek permission from Microsoft to serve as an

11    expert in this case?

12    A.   No.

13    Q.   Did anyone at Microsoft ask you to serve as an expert in

14    this case?

15    A.   No.

16    Q.   Did you get any direction from Microsoft about any of the

17    opinions you voiced in this case?

18    A.   No.

19    Q.   Has Microsoft been your primary consulting client in

20    recent years?

21    A.   No.

22    Q.   When was the last time that Microsoft was your primary

23    consulting client?

24    A.   It was scaling down during 2015, and so somewhere in that

25    range.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 121 of 1271869
                            ATHEY - REDIRECT / EVEN

1     Q.   As far as you know, did your engagement by Epic have

2     anything to do with Microsoft?

3     A.   Not as far as I know.

4     Q.   Ms. Dunn asked you some questions yesterday about your

5     potential review of hypothetical confidential Apple documents

6     that hypothetically said how many people switched from Android

7     iOS or vice versa.

8          You remember that?

9     A.   Yes.

10    Q.   Is there public data concerning switching between iOS and

11    Android?

12    A.   Yes.

13    Q.   And as a tech economist, platform economist, do you

14    generally keep abreast of the data about switching between

15    those two platforms?

16    A.   Yes.

17                THE COURT:    Is all of that evidence attached to your

18    report?     That is, is it a part of the record in this case?

19                MR. EVEN:    I'm sorry.   Which data is that, Your

20    Honor?

21                THE COURT:    What you just asked her about, the data

22    about switching between the platforms.          Is that data that is

23    in the record in this case, Professor Athey?

24                THE WITNESS:    I -- I don't want to misspeak, but I --

25                THE COURT:    Well, and I just want to know what's in
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 122 of 1271870
                            ATHEY - REDIRECT / EVEN

1     the record.

2                 THE WITNESS:    I believe that Dr. Evans has

3     information.

4                 THE COURT:   Did you rely on Dr. Evans in establishing

5     your opinions?

6                 THE WITNESS:    I relied on Dr. Evans for the market

7     definition and for the -- the switching costs and the -- the

8     market power in both the -- the foremarket and the

9     aftermarket.

10                THE COURT:   Did you review data and did you analyze

11    data?

12                THE WITNESS:    I did not do original analysis of data.

13                THE COURT:   And there's no data attached to your

14    report?

15                THE WITNESS:    No -- no original data, no.

16                THE COURT:   All right.    Thank you.

17    BY MR. EVEN:

18    Q.   You were also asked some questions about DX5612 and --

19    which talked about some bad news and good news about switching

20    between iOS and Android.

21         Do you remember that?

22    A.   Yes.

23    Q.   And in the good news, it said -- and I'm reading from

24    it -- "These days, most major productivity apps are readily

25    available on both platforms.        And once you are all set up with
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 123 of 1271871
                            ATHEY - REDIRECT / EVEN

1     Android, all of your apps and app data will automatically sync

2     with Google servers and follow you to any future Android

3     devices."

4          Do you see that?

5     A.   Yes.

6     Q.   Is that good news about the transfer from iOS to Android?

7     A.   No.

8     Q.   What is this good news about?

9     A.   The -- it's speaking about following between Android

10    devices.    So good news for switching among Android devices.

11    Q.   You were also asked by Ms. Dunn about some -- an article

12    from The Guardian that you cited in your report.

13         Correct?

14    A.   Yes.

15    Q.   So I'm putting up on the screen the relevant portion that

16    counsel for Apple directed you to.         And it's on page 3.

17                             (Exhibit published.)

18    BY MR. EVEN:

19    Q.   And you recall that counsel for Apple asked you some

20    questions suggesting that you omitted the parts that are bad

21    for you in this -- in the article?

22    A.   Yes.

23    Q.   And specifically, counsel for Apple pointed you to the

24    stuff that says that piracy on Android is a fact, correct?

25    A.   Yes.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 124 of 1271872
                            ATHEY - REDIRECT / EVEN

1     Q.   So I'd like to maybe scroll down a little bit to the

2     points that Ms. Dunn did not show you.

3                              (Exhibit published.)

4     BY MR. EVEN:

5     Q.   And do you see that after they say that piracy on Android

6     is a fact, they say, yet, a, piracy is also a fact of the life

7     on iOS through some elements of its jail-breaking community;

8     b, it's always difficulty to work out how many pirates

9     represent generally low sales would they have bought the app

10    otherwise; and, c, if an app is free of premium, then piracy

11    is much less of a headache.

12         Do you see that?

13    A.   Yes.

14    Q.   And then the article goes on to say only Android user less

15    keen -- sorry -- on the Android user-less-keen-to-pay point,

16    it's true that iOS is still more lucrative for developers.

17    Apple has paid out more than ten billion to its developers

18    while Google hasn't given comparable figures.

19         Do you see that?

20    A.   Yes.

21    Q.   Does the article reach a definitive conclusion about the

22    point for which you cited it, which was the point about users

23    paying more on iOS?

24    A.   Yes.   The article is consistent with the -- the -- the

25    point that -- that developers make more on -- on iOS.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 125 of 1271873
                            ATHEY - REDIRECT / EVEN

1     Q.   And does the article reach a definitive conclusion that

2     Android piracy is a deterrent more so than iOS piracy?

3     A.   I think it's suggesting that -- that piracy may be more

4     common, but also that because, you know, people who have less

5     money to spend might be substituting between piracy and not

6     using the game at all rather than piracy for -- for paying.

7     That's my -- my interpretation of this?

8          So although piracy may be more common, it doesn't

9     necessarily mean that fixing the piracy would make the

10    developers earn more.       But that's -- in any case, that's --

11    that -- the point that I cited them about was that -- that iOS

12    developers often develop first on iOS, but also most of them

13    eventually go to Google, too, which is, you know, all

14    consistent with this.

15    Q.   Okay.

16         You were asked some questions yesterday about whether

17    Apple would need to undertake any technical redesign efforts

18    for middleware to run on iOS, correct?

19    A.   Correct.

20    Q.   And one of the middleware instances you were talking about

21    were streaming services, correct?

22    A.   Yes.

23    Q.   And you testified yesterday that you reviewed Microsoft

24    trial testimony concerning streaming, correct?

25    A.   Yes.
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 126 of 1271874
                            ATHEY - REDIRECT / EVEN

1     Q.   And that you reviewed Nvidia's testimony on the topic of

2     streaming, correct?

3                MS. DUNN:    Objection.    I think mischaracterizes the

4     record.

5                THE COURT:    Sustained.     I think you -- you said you

6     didn't listen to the testimony.         But did you read something

7     else?

8                THE WITNESS:     I --

9                THE COURT:    What is it that -- let's just get the

10    record clear.

11               THE WITNESS:     Sorry.

12               MR. EVEN:    I think, Your Honor, what --

13               THE COURT:    Just let -- she can answer.

14    BY MR. EVEN:

15    Q.   Go ahead.

16               THE COURT:    Was it Nvid- -- did you read the

17    testimony or something else?

18               THE WITNESS:     I read selections of testimony that

19    related to streaming.

20               THE COURT:    Okay.     For Microsoft and Nvidia.

21               THE WITNESS:     Yes.

22               THE COURT:    Okay.

23    BY MR. EVEN:

24    Q.   And based on your review of that testimony, do you have an

25    understanding whether technical design changes would need to
     Case 4:20-cv-05640-YGR Document 721-3 Filed 05/20/21 Page 127 of 1271875
                            ATHEY - REDIRECT / EVEN

1     be done in iOS to support app streaming?

2     A.   My understanding was that these witnesses said that

3     technical design changes would not be needed, that -- I

4     believed that, you know, one of the apps accepted and --

5     and -- from Nvidia and then taken down, so --

6                MR. EVEN:    Thank you, Professor Athey.       I have no

7     further questions.

8                THE WITNESS:     Thank you.

9                THE COURT:    Any recross on those seven topics?

10               MS. DUNN:    No re-cross, Your Honor.       Thank you.

11               THE COURT:    All right.     Professor, you're excused.

12    Thank you.

13         If counsel will come and get those binders.

14         Next witness.

15                        (Off-the-record discussion.)

16               THE COURT:    Ms. Forrest, next witness.

17               MS. FORREST:     Yes.    Your Honor, we now turn to some

18    of the economists from the Apple side.

19               THE COURT:    Okay.     Thank you.

20               MR. SWANSON:     Your Honor, as our next witness --

21    perhaps our first witness, we're calling Professor Richard

22    Schmalensee.

23               THE COURT:    You need to identify yourself for the

24    record.

25               MR. SWANSON:     Dan Swanson for Apple, Your Honor.
